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         1.    I, Dr. Bertram Huber, declare under penalty of perjury under the laws of

     the United States, as follows.

         2.    I have reviewed the declarations of Mr. David Djavaherian and

     Professor Jorge L. Contreras. I offer the following replies to some of their

     positions.1 I also stand by all of the positions in my previous Declaration

     submitted in this matter.

 I.       GENERAL OBSERVATIONS
         3.    As a general observation, I read Mr. Djavaherian’s declaration as

     mostly basing his analysis on general pronouncements about “FRAND,” including

     citing mismatched case law that did not interpret the ETSI IPR Policy and

     academic commentators who address theoretical constructs of FRAND. He seeks

     to interpret “FRAND” as a generalized and universal concept, disconnected from

     the specific commitment made by an IPR holder to a specific standards

     development organization.

         4.    For example, as I will elaborate on further below, Mr. Djavaherian

     disregards the express language of the ETSI IPR Policy, the process of its

     creation, and the appertaining debates over the past more than 25 years. One



 1
   My rebuttals here are mostly directly to Mr. Djavaherian, rather than Prof. Contreras, because
 Prof. Contreras largely does not rebut my analysis, and where he does, it is not persuasive for the
 reasons stated in my prior Declaration.
                                                  3
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     fundamental difference is that I was personally involved in the establishment of

     the ETSI IPR Policy in contrast to Mr. Djavaherian and Prof. Contreras.

         5.     Another general shortcoming of Mr. Djavaherian’s analysis is that his

     main focus is on individual standard essential patents but not on portfolios of

     standard essential patents. This makes a fundamental difference because

     negotiating a license agreement for one or only a few single patents versus a large

     portfolio of patents follows fundamentally different routes.

         6.     Even more generally, there is a dispute as to the question of whether

     Thales can be considered a willing licensee under the ETSI terms. Thales,

     together with its two declarants, appears to presuppose that this is the case simply

     on the ground that it has declared to be willing to abide by the setting of FRAND

     terms and conditions by the Court. But such general preparedness has repeatedly

     been conditioned on the reservation “to challenge the infringement and validity

     and enforceability of any of Philip’s SEPs at any time and in any jurisdiction.”2

     While challenging the validity and essentiality of licensed patents may be possible

     under a concluded license agreement, such specific and explicit conditioning of a

     preparedness to enter into a license agreement points into a direction where the

     prospective licensee appears not to be truly interested in entering into a license

     agreement, by way of compromise and guided by good faith behavior under the


 2
     First Antonitsch Declaration, 7.; Second Antonitsch Declaration, 6.
                                                   4
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     expectations of ETSI. Under any circumstance, conditioning the entering into a

     license agreement, and honoring resulting license fee payment obligations, upon

     final adjudication of validity and essentiality of the standard essential patents

     covered by the license by a court would not be in keeping with the expected

     constructive good faith approach required by the ETSI IPR Policy for the

     negotiation and eventual conclusion of a FRAND license agreement. The express

     mentioning of such reservation – and, in addition, mentioning “the relevant

     appellate courts”3 – casts doubt on the seriousness and usefulness of Thales’

     stated preparedness to “execute and abide by a worldwide license to Philips’ SEPs

     ... on such final FRAND terms and conditions as are determined by this Court.”4

         7.    To give another example of behaviors which cannot be considered

     compatible with the behavior of a willing licensee: when a prospective licensee

     insists in negotiating separate license agreements to be concluded for different

     legal entities which all form part of a group of companies. In such case, it is

     sufficient if the license agreement is being negotiated and concluded with only

     one of the companies forming part of the group of companies, which will typically

     be the parent company.5 This case is similar to a situation where the prospective

 3
   First Antonitsch Declaration, 7.; Second Antonitsch Declaration, 6.
 4
   Thales Reply Brief, page 2.
 5
   The German Regional Court (Landgericht) in Düsseldorf in Fraunhofer-Gessellschaft (MPEG-
 LA) v. ZTE, Case No. 4a O 15/17 (Regional Court Düsseldorf) (Nov. 9, 2018), provides that the
 industry practice is for a single license for the entire group of companies, being concluded


                                               5
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  licensee insists in being granted licenses patent by patent, country by country or

  standard by standard. Such behavior is indicative of a licensee who is not truly

  interested in entering into a FRAND license agreement, applying a constructive

  approach and fair and reasonable behavior, as required by ETSI, but rather

  endeavoring to complicate negotiations and to make the whole process of

  negotiation and license agreement conclusion inappropriately complicated and

  burdensome for the SEP holder. So, summarizing, the SEP holder must only

  conclude one single license agreement with one group company which typically

  will be the parent company of the group. Such license agreement will have to be a

  portfolio license and include – at least – all SEPs held by the licensor in all

  jurisdictions and relevant for all applicable ETSI standards used by the infringing

  products in question. And to be clear, even under these circumstances, the SEP

  holder is only obligated to conclude a license agreement with a truly willing

  licensee. While the prospective licensee is entitled to require the grant of a

  FRAND license under SEPs, which requires a corresponding constructive and

  good faith behavior of the license seeker, the SEP holder, obviously, cannot force

  an unwilling licensee to conclude a license agreement. It can, however, enforce its



 typically with the parent company. E.g., 417. Also, the German Federal Court of Justice
 (Bundesgerichtshof) makes clear in its decision KZR 36/17 Sisvel v. Haier (May 5, 2020) that
 the general alerting of infringement of SEP(s) is proper if made to the parent company of the
 actual infringer(s). 89.

                                                6
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     SEPs making use of the ordinary course of law in the relevant jurisdictions. This

     naturally includes the seeking of injunctions.

         8.    Additionally, I note that Prof. Contreras and Mr. Djavaherian simply

     ignore the prior history of negotiations between Philips and Thales. That is

     improper. As I have previously discussed, acts or omissions that hinder or delay

     negotiations are not in keeping with the obligation of a potential licensee to

     negotiate in a fair and reasonable way as contemplated by the ETSI IPR Policy,

     and there are facts in the negotiations between Thales and Philips that indicate at

     least delay and other behavior inconsistent with the behavior of a willing licensee.

 II.      GENERAL VIEWS ABOUT HOW FRAND LICENSING SHOULD BE
          ORGANIZED VERSUS SPECIFIC CONTRACT TERMS OF ETSI
          FRAND RULES

         9.    Substantial parts of Mr. Djavaherian’s declaration deal with statements

     about how Mr. Djavaherian thinks standards development generally is being (or

     should be) performed.6 7 This is, however, completely disconnected from (1) the

     specific rules and terms of ETSI, and (2) the specific practices applied by ETSI.

     ETSI is the standard setting organization that is relevant to this case, not other

     organizations. For example, in the case of ETSI, core focus is put on


 6
  Djavaherian Declaration 24.–40.
 7
  The very same is the case, in fact, with the Contreras Declaration. Prof. Contreras appears to
 have no experience whatsoever with the ETSI IPR Policy and its coming into existence which,
 however, does not keep him from speculating about what was “well-known to the developers of
 ETSI's policies.” Contreras Declaration 29.


                                                7
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     standardizing the most modern, cutting-edge technological solutions8 and not

     solutions which “need not focus on the “best” available option.”9

         10.   In general, Mr. Djavaherian’s purported interpretations of FRAND are

     inconsistent with the facts, well established legal conclusions, the history of the

     ETSI IPR Policy, ETSI’s expressed intent and terms, as in particular contained in

     the ETSI Directives, and out of touch with reality. Mr. Djavaherian has no

     personal experience from the relevant time frame, when ETSI adopted the ETSI

     IPR Policy of 1994, and as a result does not understand the intent of ETSI in

     drafting the contractual language at issue.

         11.   Mr. Djavaherian also creates a faulty interpretation of FRAND because

     he fails to understand the objectives of the ETSI IPR Policy and its specific terms.

     Although he claims that his interpretation creates a “level playing field,”10 he

     skews his analysis in favor of technology implementers at the cost of technology

     innovators at every turn. For instance, he determines that “hold-up” is an

     important consideration in interpreting FRAND, but he never considers the effects

     of “reverse hold-up” and “hold-out” and he disregards that an implementer

     without a license commits patent infringement.




 8
   ETSI IPR Policy, Clause 3.1.
 9
   Djavaherian Declaration 31.
 10
    Djavaherian Declaration esp. 35. sqq.
                                               8
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  III. INCORRECT INTERPRETATION OF THE ETSI GUIDELINES
       FOR ANTITRUST COMPLIANCE

         12.     Mr. Djavaherian relies on the ETSI Guidelines for Antitrust

  Compliance, and attempts to read into them extra obligations for IPR holders

  under FRAND. However, he fails to realize that, unlike the ETSI IPR Policy and

  the ETSI Directives, the Guidelines for Antitrust Compliance merely state the pre-

  existing general principles of European antitrust law.

         13.     It is generally misplaced to overemphasize standard development

  organizations’ antitrust policies, particularly in ETSI, as Mr. Djavaherian does.

         14.     When Mr. Djavaherian points to the ETSI Guidelines for Antitrust

  Compliance,11 he misunderstands the purpose of these Guidelines. Mr.

  Djavaherian fails to recognize that the ETSI Guidelines for Antitrust Compliance

  do not impose any separate obligations on ETSI members, because antitrust

  regulations are always applicable to all market participants within the

  geographical reach of such regulations. The core purpose of the ETSI Guidelines

  for Antitrust Compliance is to alert ETSI members to existing public law

  constraints. The ETSI Guidelines for Antitrust Compliance are largely aimed at

  SMEs12 who may be less sophisticated and less familiar with these legal

  regulations, even though the regulations apply to all market participants,


 11
      Djavaherian Declaration 41., 49., 60., 62., 78.
 12
      Small and Medium-sized Enterprises.
                                                        9
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   independent of their size. The ETSI Guidelines for Antitrust Compliance only

   explain; they do not impose any additional restrictions on the ETSI IPR Policy or

   FRAND IPR declarations made pursuant thereto.

          15.    Mr. Djavaherian, in contrast, incorrectly interprets the ETSI Guidelines

   for Antitrust Compliance as though they were meant to create regulations for IPR

   licensing pursuant to the ETSI FRAND commitment, or to provide interpretative

   guidance regarding FRAND terms and conditions as referenced in the ETSI IPR

   Policy at Clause 6.1. Mr. Djavaherian takes out-of-context excerpts from the

   ETSI Guidelines for Antitrust Compliance, but it is clear when read in their

   entirety that they do not create separate obligations for IPR licensing pursuant to

   the ETSI FRAND commitment nor provide interpretative guidance regarding

   FRAND terms and conditions as referenced in the ETSI IPR Policy.13

          16.    The ETSI Guidelines for Antitrust Compliance are not part of the ETSI

   IPR Policy and do not include any explanation or direction concerning FRAND

   licensing. In fact, the ETSI Guidelines for Antitrust Compliance were not

   introduced into the ETSI Directives until 2007, thirteen years after the ETSI IPR

   Policy was established and put into practice. The ETSI Guidelines for Antitrust

   Compliance were not part of ETSI’s deliberations in establishing the ETSI IPR

   Policy, but instead came much later for a different purpose.


  13
       ETSI IPR Policy Clause 6.1.
                                              10
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       17.     Although the document contains four sections and comprises 9 pages,14

   the only mention of “fair, reasonable, and non-discriminatory” terms in the ETSI

   Guidelines for Antitrust Compliance is in a footnote disclaiming any

   responsibility on ETSI’s part for determining whether disclosed licensing terms

   are “fair, reasonable, and non-discriminatory.”15 Instead, FRAND terms and

   conditions are determined by private negotiations among parties.16

       18.     Mr. Djavaherian’s references to the ETSI Guidelines for Antitrust

   Compliance refer largely to Part B, which provides a general overview of

   European competition law principles, but does not set forth any ETSI policy and

   does not specifically relate to FRAND licensing pursuant to the ETSI IPR Policy.

   Moreover, there is a significant disconnect between the actual text of the ETSI

   Guidelines for Antitrust Compliance and Mr. Djavaherian’s characterization of

   those Guidelines. For example, Mr. Djavaherian cites general European

   competition law principles described in the ETSI Guidelines for Antitrust




  14
     The ETSI Guidelines for Antitrust Compliance are comprised of four parts: Part A
  (introduction); Part B (general overview of the main European competition law provisions,
  which are Articles 101 and 102 of the Treaty on the Functioning of the European Union
  (TFEU)); Part C (guidelines for antitrust compliance); and Part D (“do’s and don’ts” of
  participating in technical standardisation meetings).
  15
     ETSI Guidelines for Antitrust Compliance, D.1.6, footnote 13.
  16
     Which is expressly stated in the ETSI Guide on IPRs Section 2.3: “Chairmen [of Technical
  Bodies, i.e. the technical working groups for standardization] shall not allow any discussion on
  commercial issues in the Technical Body, in particular but not limited to discussions on details
  of specific licensing terms and conditions.”


                                                 11
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   Compliance as if they were policies developed or enforced by ETSI, but they are

   not part of the ETSI IPR Policy or its specific FRAND terms.

       19.    Mr. Djavaherian states that “ETSI’s Antitrust Guidelines . . . expressly

   note that they shall apply to all ETSI activities,”17 in an apparent attempt to

   suggest that the ETSI Guidelines for Antitrust Compliance have some substantive

   application to the issue of non-discriminatory licensing pursuant to FRAND

   licensing undertakings. However, FRAND licensing negotiations and conclusion

   of license agreements take place outside of ETSI. Indeed, the ETSI Guidelines for

   Antitrust Compliance explain that ETSI members must not discuss licensing in

   the course of ETSI activities.18

       20.    Mr. Djavaherian also cites the ETSI Guidelines for Antitrust

   Compliance out of context when he says that they state that ‘[t]he imposition of

   discriminatory and unfair conditions by the dominant company, to any categories

   of users, or any other company having contractual relationships with the

   dominant company, is abusive.’”19 Mr. Djavaherian’s implication that this is a

   pronouncement of ETSI regarding FRAND licensing is refuted by the language of

   the cited subsection of the ETSI Guidelines for Antitrust Compliance, Section

   B.3.3 e). In that subsection, the document is providing background on general


  17
     Djavaherian Declaration 62.
  18
     ETSI Guidelines for Antitrust Compliance, Section D.2.2, D.2.3.
  19
     Djavaherian Declaration 78. (emphasis in original).
                                                12
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   principles of European competition law as to when dominant firms may have

   abused their dominance, not any specific policy of ETSI. Of course, there are

   differences between European competition law and U.S. competition law. Further,

   this subsection does not even describe European competition law treatment of

   patent licensing transactions, which are subject to a different analysis, described

   elsewhere, namely in Section B.3.3 c) (“Abuse of intellectual property rights”).

   According to the ETSI Guidelines for Antitrust Compliance, European

   competition law treats intellectual property rights differently than other types of

   business activities, and in particular focuses on “refusal to license,” which “in

   some cases” may be regarded as abusive.20

          21.    In addition, Mr. Djavaherian’s citation of the phrase “level playing

   field”21 from the ETSI Guidelines for Antitrust Compliance is from a section that

   simply states the aims of competition law generally; it is not directed to patent

   licensing or FRAND.

          22.    The ETSI Guidelines for Antitrust Compliance only repeat generalities

   and rules which are set by the competent European authorities and which evolve

   over time. Consequently, the Guidelines contain axioms such as “it is important

   for ETSI and its members to strictly comply with all laws that relate to the conduct


  20
       ETSI Guidelines for Antitrust Compliance, Section B.3.3 c).
  21
       Djavaherian Declaration 49., 60., 62.


                                                   13
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   of their activities.”22 In doing so, the Guidelines merely remind parties of their

   preexisting obligation as parties under the jurisdiction of the European Union to

   observe competition and antitrust law regulations, as well as any other legal

   requirements.

       23.     Despite this, Mr. Djavaherian tries to create additional regulations from

   the ETSI Guidelines for Antitrust Compliance, but there are none. He tries to give

   specific meaning to certain language in section B, which is designated as mere

   background information,23 but he does not cite a single text portion from section C

   of the Guidelines for Antitrust Compliance, which covers the stipulations of the

   Guidelines for Antitrust Compliance as such.24 The only place where the ETSI

   Guidelines for Antitrust Compliance could have possibly imposed additional

   obligations on members of ETSI being SEP holders, is section C of the

   Guidelines, but ETSI chose not do so.

       24.     Resultantly, Mr. Djavaherian misunderstands the relevance of the ETSI

   Guidelines for Antitrust Compliance. As noted above, a review of Section B.3.3

   e) demonstrates that, in addition to being a general restatement of competition law

   principles rather than a requirement that ETSI rules impose on its members in all




  22
     Guidelines for Antitrust Compliance, A.
  23
     Djavaherian Declaration 49., 60., 62., 78. ETSI Guidelines for Antitrust Compliance, B.
  24
     ETSI Guidelines for Antitrust Compliance, C.


                                                 14
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   aspects of their licensing activities, it refers to “other types of abuse,” other than

   patent licensing.25 Mr. Djavaherian also fails to note that the text regarding such

   “other types of abuse” is discussing the situation of “[t]he imposition of

   discriminatory and unfair conditions.”26 If Mr. Djavaherian is attempting to argue

   that this applies to patent licensing, then this would be referring to an analysis of

   an agreement at the outset, something he does not and cannot do.

  IV.    VIEWS EXPRESSED BY THE EUROPEAN COMMISSION
         REGARDING INTELLECTUAL PROPERTY AND
         STANDARDIZATION IN 1992

        25.   During my involvement in the ETSI IPR Committee discussions in the

   early 1990s, I was aware of the views expressed by the European Commission

   about standardization and intellectual property rights. For example, the European

   Commission issued a communication on intellectual property rights and

   standardization in October 1992.27 In that communication, the European

   Commission did not support any view that IPR owners are required to create a

   “level playing field” among licensees.

        26.   As the European Commission further noted in the 1992 communication,

   “If agreement is reached between the rightholder and the standard-making body,

   the terms for licences must be fair, reasonable and non-discriminatory. It is not


  25
     As evidenced by ETSI Guidelines for Antitrust Compliance, Section B.3.3 c).
  26
     Djavaherian Declaration 78.
  27
     COM(92) 445, Communication from the EU Commission, Intellectual Property Rights and
  Standardization (Oct. 27, 1992), LexUriServ.do (europa.eu).
                                             15
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   feasible or appropriate to be more specific as to what constitutes ‘fairness’ or

   ‘reasonableness’ since these are subjective factors determined by the

   circumstances surrounding the negotiation. If the rightholder is to be satisfied

   that his investment in research and development can be adequately recovered, he

   would expect the royalty rate to relate in some way to the normal freely-

   negotiated commercial rate, allowing for the greatly increased market for his

   technology which standardization will bring.”28

       27.    The 1992 Communication also expresses concern not to disincentivize

   research & development activities, such as by imposing compulsory licensing:

   “Therefore, any application of Article 86 in the field of public standardization

   must be balanced against the policy objective of maintaining the Community’s

   strength in research and development.”29 The continued existence of incentives

   for companies to develop intellectual property through innovation depends on IPR

   policies that allow for licensing that adequately and fairly compensates IPR

   holders. The ETSI IPR Policy should not be interpreted in a manner that gives all

   benefits to implementers at the expense of IPR holders.




  28
     COM(92) 445, Communication from the EU Commission, Intellectual Property Rights and
  Standardization, Section 4.3.3 (Oct. 27, 1992), LexUriServ.do (europa.eu).
  29
     COM(92) 445, Communication from the EU Commission, Intellectual Property Rights and
  Standardization, Sections 5.1.15 and 5.1.16. (Oct. 27, 1992), LexUriServ.do (europa.eu).
                                              16
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  V.    INTERPRETATION OF FRAND UNDER ETSI, TAKING INTO
        ACCOUNT THE REGULATIONS AND THE DEVELOPMENT OF
        THE ETSI IPR POLICY

       28.    The 1992 Communication also notes that abuse of a dominant position

   by a standard-making body and its members could be accomplished either by the

   imposition of unfair purchasing prices (e.g., unfairly low royalties for IPR

   owners) or selling prices (e.g., unreasonable royalties to be paid by the licensee).30

   IPR Policies in standards development should balance the interests of licensors

   and licensees, and should not be interpreted in a manner that has exclusive

   concern for only the licensee’s competitive position.

       29.    Mr. Djavaherian actually does acknowledge that the holder of a

   standard essential patent is not obligated to “seek out and grant licenses to all

   potential implementers.”31 By that acknowledgement, he contradicts his incorrect

   assertion that the essential IPR holder is obligated, pursuant to the ETSI IPR

   Policy, to create a “level playing field” among all implementers.32 Additionally,

   of course, in real-world licensing situations, one could not seriously suggest under

   the ETSI IPR Policy that IPR holders would have the ability to (or be expected to)

   bring about exactly equal competitive conditions among all manufacturers of a



  30
     COM(92) 445, Communication from the EU Commission, Intellectual Property Rights and
  Standardization, Section 5.1.6 (Oct. 27, 1992), LexUriServ.do (europa.eu).
  31
     Djavaherian Declaration 59.
  32
     Djavaherian Declaration esp. 35. sqq., 60. sqq.


                                             17
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   product, who may differ vastly in their size, capitalization, technical ability,

   number of employees, marketing expertise, and any number of other factors that

   affect competitive standing. The ETSI IPR Policy was not intended to attempt to

   place such an impossible burden on IPR holders, and it should not be interpreted

   in this manner. The ETSI IPR Policy does not require licenses on FRAND terms

   and conditions to have identical terms for all licensees. Rather, it is based on a

   presumption of contractual freedom that allows parties to negotiate individualized

   terms within a range of FRAND.

          30.    Mr. Djavaherian reports about ETSI, “beginning in the early 2010s”

   having undertaken “significant efforts to review and consider updates” to its IPR

   policy.33 But he fails to note that these efforts have not resulted in even a single

   change of any substance to the ETSI IPR Policy.

  VI.       CONFIDENTIALITY IN THE CONTEXT OF LICENSE
            AGREEMENTS IS A GENERAL PRACTICE
          31.    Mr. Djavaherian attempts to paint a picture of confidentiality provisions

   in license agreements being sometimes used and sometimes not.34 But beyond his

   statement as such, he offers no proof. Mr. Djavaherian fails to note that

   confidentiality provisions (as well as asymmetry of information) are general

   practice in transactions in many fields, including telecommunications, that they


  33
       Djavaherian Declaration 18.
  34
       Djavaherian Declaration 73. and esp. 96.
                                                  18
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   have been the norm in the telecommunications field for decades, that they exist

   both in the interest of implementers and innovators, and that despite it all (or

   perhaps with the help of it) the mobile telecommunications industry is thriving.

   The licensees have naturally no interest in allowing their competitors to view their

   long-term business contracts. In fact, such sharing of pricing information among

   competitors could give rise to antitrust concerns.35

       32.    In my own decades-long and extensive licensing practice, I do not

   recall any specific agreement where a confidentiality clause was not present. I

   can hardly imagine that Mr. Djavaherian’s own industry practice, e.g., at

   Broadcom and Tessera was any different.

       33.    Aware of this ordinary practice, the ETSI Guide on IPRs expressly

   allows the use of confidentiality agreements “to protect the commercial interests

   of both potential licensor and potential licensee during an Essential IPR licensing

   negotiation” and acknowledges it is “general practice.”36 The ETSI Guide on

   IPRs further notes that this practice “is not challenged.”37




  35
     The ETSI Guidelines for Antitrust Compliance, while they do not address FRAND licensing
  in the manner asserted by Mr. Djavaherian, specifically caution against price fixing and sharing
  of royalty information among competitors. ETSI Guidelines for Antitrust Compliance, D.2.2 and
  D.2.3.
  36
     ETSI Guide on IPRs, Section 4.4.
  37
     ETSI Guide on IPRs, Section 4.4.


                                                19
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       34.    Mr. Djavaherian repeatedly cites from a recent CEN-CENELEC

   document.38 It should be noted that the positions taken in such document are not

   endorsed by ETSI. In fact, to a large extent, the cited “principles” are not at all

   compatible with the ETSI Directives, in particular the ETSI IPR Policy. In short,

   the document is not relevant to ETSI and, consequently, has no effect for the

   proper interpretation of the ETSI IPR Policy and any other part of the ETSI

   Directives.

       35.    While Mr. Djavaherian refers to the CJEU Huawei v. ZTE case,39 he

   fails to note that the CJEU expressly acknowledges that the typical negotiation

   situation between a standard essential patent holder and a potential licensee is

   conducted in the absence of information about other previously agreed upon

   license agreements.40 One can infer from this that in the CJEU’s understanding,

   the standard essential patent holder is not required to disclose any previous

   licensing agreements to the potential licensee before the potential licensee makes




  38
     Djavaherian Declaration e.g., 70., 97.
  39
     Djavaherian Declaration 99. Case C-170/13, Huawei Techs. Co. Ltd. v. ZTE Corp., Case C-
  170/13, 62013CJ0170 (July 16, 2015). In general, it should be noted that the CJEU case is a
  competition law case addressing the effect of European competition law on the ability of an IPR
  owner to obtain an injunction for a standard essential patent; it is not a case about contract
  interpretation or enforcement of licenses under the ETSI IPR Policy.
  40
     Case C-170/13, Huawei Techs. Co. Ltd. v. ZTE Corp., Case C-170/13, 62013CJ0170 (July 16,
  2015) ¶ 64 (noting that the court is assuming a situation “in the absence of a public standard
  licensing agreement” and “where license agreements already concluded with other competitors
  are not made public”).


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   its counteroffer, which must be prompt and must correspond to FRAND terms and

   conditions.41

  VII. OVEREMPHASIZING THE RELEVANCE OF “PATENT HOLD-UP”

       36.      Mr. Djavaherian concludes that the FRAND commitment is designed

   predominantly to prevent “patent hold-up.”42 This is an incorrect interpretation of

   the ETSI IPR Policy and the emanating FRAND commitment. ETSI’s focus and

   intent is on a balanced approach, giving due regard to the interests of

   implementers and the right of IPR holders to “be adequately and fairly rewarded

   for the use of their IPRs.”43 The ETSI IPR Policy was designed to balance

   ensuring that standardized technologies are available to potential users, with

   ensuring adequate and fair compensation to IPR holders, thus incentivizing future

   research & development into future innovations which become part of future

   standards.

       37.      I have dealt with in detail with “patent hold-up” in my first Declaration

   already and incorporate my analysis there.44 Importantly, arguments based on the

   “patent hold-up” theory, such as those of Mr. Djavaherian, fall short of providing



  41
     Case C-170/13, Huawei Techs. Co. Ltd. v. ZTE Corp., Case C-170/13, 62013CJ0170 (July 16,
  2015) ¶ 66 (noting that the alleged infringer/prospective licensee must make a prompt and
  specific counteroffer corresponding to FRAND terms).
  42
     Djavaherian Declaration 46.
  43
     ETSI IPR Policy, Clause 3.2.
  44
     First Huber Declaration section IV G, 185. sqq.


                                              21
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   actual evidence that in fact there is such a widespread problem in this industry.45

   What we actually see is that the global mobile telecommunications industry

   segment has developed and evolved as hardly any other sector during the past two

   and a half decades. Without a doubt, the telecommunications industry serves as

   an excellent example that standardization efforts are rendering successful results.

   In short, the market functions well,46 as does the system of essential IPR licensing

   in large standards development organizations as it has been practiced over the past




  45
     For example, please refer to: Wright, Joshua D., Commissioner, Federal Trade Commission,
  SSOs, FRAND, and Antitrust: Lessons from the Economics of Incomplete Contracts, at the
  Center for the Protection of Intellectual Property, Inaugural Academic Conference: The
  Commercial Function of Patents in Today's Innovation Economy, George Mason University
  School of Law, at 20 (Aug. 12, 2013) (noting “unremarkable” empirical evidence of patent hold-
  up); Wireless Devices With 3G and/or 4G Capabilities and Components Thereof, Inv. No. 337-
  TA-868, Initial Determination of Administrative Law Judge Theodore R. Essex, at 124 (June 13,
  2014) (Public Version) (citing TIA comments to FTC noting that the TIA disagrees that patent
  hold-up is “plaguing the . . . standard development process”); Galetovic, Alexander, et al., An
  Empirical Examination of Patent Hold-Up, Hoover Institution Working Group on Intellectual
  Property, Innovation, and Prosperity, Stanford University, Working Paper Series no. 15010, at 26
  (Mar. 31, 2015) (demonstrating lack of empirical evidence of patent hold-up); see also Sidak, J.
  Gregory, The meaning of FRAND, Part I: Royalties, Journal of Competition & Economics,
  9(4):931, at 1021 (2013); Sidak, J. Gregory, The Antitrust Division's Devaluation of Standard-
  Essential Patents, 104 The Georgetown Law Journal Online 48 (2015), providing many citations
  at footnote 49, (noting that “[b]y early 2015 more than two dozen economists and lawyers had
  disproved or disputed the numerous assumptions and predictions for the patent holdup and
  royalty stacking conjectures.”).
  46
     This is evidenced by comparing the findings of Bekkers, Rudi, Intellectual property rights and
  standardization: the case of GSM, Telecommunications Policy 26:171-188, at 185 (2002),
  reporting that in 2002 the GSM market was dominated by five companies: Ericsson, Nokia,
  Siemens, Motorola and Alcatel, which together covered over 85% of the market, with later
  developments. Today, most of these companies are no longer present in this market at all, while
  others, e.g., Samsung, Apple, Huawei, and others have successfully gained large market shares.


                                                 22
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   more than two decades.47 In fact, “[b]y early 2015 more than two dozen

   economists and lawyers had disproved or disputed the numerous assumptions and

   predictions for the patent holdup and royalty stacking conjectures.”48

       38.     Mr. Djavaherian assumes that the core raison d’être of the FRAND

   commitment would be to avoid “patent hold-up” on the part of IPR owners.

   However, he does not take into account: (1) the body of literature demonstrating

   empirically the absence of patent hold-up; and (2) the countervailing concern of

   reverse hold-up. “Reverse hold-up” occurs when prospective licensees use their

   leverage to obtain license rates that are below FRAND. In a “hold-out” situation,

   prospective licensees either refuse to take a FRAND license or delay the

   negotiation process and thus the conclusion of a (necessary) license agreement

   while proceeding to infringe the patents of SEP holders that developed the

   technology at great expense to them.

       39.     I have already dealt with “reverse hold-up”, “hold-out”, as well as

   “patent hold-up” in my earlier Declaration and therefore I point back to that



  47
     Knut Blind (Coordinator), et al., Fraunhofer Institute for Communication System and Dialogic,
  et al., Study on the Interplay between Standards and Intellectual Property Rights (IPRs), Final
  Report, commissioned by the Directorate General for Enterprise and Industry of the EU
  Commission, at 99, 118 (Apr. 2011), EUROPA - European Commission - Study on the Interplay
  between Standards and Intellectual Property Rights (IPRs) - Final report (iplytics.com).
  48
     Sidak, J. Gregory, The Antitrust Division's Devaluation of Standard-Essential Patents, 104 The
  Georgetown Law Journal Online 48 (2015) (providing many citations at footnote 49), antitrust-
  divisions-devaluation-of-standard-essential-patents.pdf (criterioneconomics.com).


                                                 23
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   analysis.49 Therefore, I would only also point again here to the recent Policy

   Statement on Remedies for Standards-Essential Patents Subject to Voluntary

   F/RAND Commitments.50 It clarifies in particular that remedies, such as

   injunctions “should be available for infringement of standards-essential patents

   subject to a F/RAND commitment, if the facts of a given case warrant them.”51 It

   also addresses possible misunderstandings of the earlier 2013 Policy Statement,52

   saying that “[t]he 2013 policy statement may also have been misinterpreted to

   suggest that antitrust law is applicable to F/RAND disputes. Although the U.S.

   International Trade Commission may consider “competitive conditions in the

   United States economy” as part of its public interest analysis, see, e.g., 19 U.S.C.

   § 1337(d)(1), that does not signify that F/RAND licensing disputes raise antitrust

   concerns.”53



  49
     First Huber Declaration section IV G 200. sqq.
  50
     Policy Statement on Remedies for Standards-Essential Patents Subject to Voluntary F/RAND
  Commitments of the U.S. Patent & Trademark Office (USPTO), the National Institute of
  Standards and Technology (NIST), and the U.S. Department of Justice, Antitrust Division
  (DOJ), December 18, 2019.
  51
     Policy Statement on Remedies for Standards-Essential Patents Subject to Voluntary F/RAND
  Commitments of the U.S. Patent & Trademark Office (USPTO), the National Institute of
  Standards and Technology (NIST), and the U.S. Department of Justice, Antitrust Division
  (DOJ), December 18, 2019, p 5.
  52
     DOJ/USPTO, Policy Statement on Remedies for Standards-Essential Patents Subject to
  Voluntary F/RAND Commitments, January 2013.
  53
     Policy Statement on Remedies for Standards-Essential Patents Subject to Voluntary F/RAND
  Commitments of the U.S. Patent & Trademark Office (USPTO), the National Institute of
  Standards and Technology (NIST), and the U.S. Department of Justice, Antitrust Division
  (DOJ), December 18, 2019, p 4 footnote 9.


                                               24
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  VIII SEEKING INJUNCTIONS

       40.     As I have shown in my first Declaration,54 it is clear that there is

   nothing in the ETSI IPR Policy, in particular when additionally taking into

   account the more than five-year process of it coming into existence, which would

   disallow the seeking of injunctive relief.55 Similarly, while Mr. Djavaherian states

   that “some within the ETSI IPRSC were of the opinion that the ETSI already

   implicitly restricted the use of injunctive relief,”56 he provides no support for that

   statement, and even if there were “some” people of that view, it would have been

   a view that is indefensible, as I have previously discussed. Mr. Djavaherian’s

   analysis is based on the 2012-15 time period when the ETSI IPR Special

   Committee discussed such issues, i.e. around 20 years after the adoption of the

   ETSI IPR Policy. The fact that the ETSI IPR Policy did not prohibit injunctions

   could not have been changed merely by the ETSI IPR Special Committee

   discussing such issues.57 In any case, such discussion has not resulted in a

   respective modification of the ETSI IPR Policy.




  54
     First Huber Declaration section IV E 202. sqq.
  55
     Whether or not eventually an injunction will be issued is of course always subject to the
  applicable laws and regulations in the relevant jurisdiction.
  56
     Djavaherian Declaration 82.
  57
     Djavaherian Declaration 82.


                                                  25
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        41.    Also Mr. Djavaherian’s citing of a very recent paper of the European

   Association of Automotive Suppliers,58 notably an association of

   implementers/prospective licensees, not of SEP holders, does not contribute

   anythingnew. The same is true for Mr. Djavaherian repeatedly citing from a CEN-

   CENELEC document.59 Again, the positions taken in such document are not

   endorsed by ETSI and, to a large extent, are not compatible with the ETSI

   Directives, in particular the ETSI IPR Policy and its specific terms.

  IX.    THE EUROPEAN COMMISSION MOTOROLA INVESTIGATION

        42.    In discussing the European Commission’s investigation of Motorola,

   Mr. Djavaherian attempts to use this case as support for the proposition that the

   Commission “found that the licensee’s prior non-FRAND behavior does not

   prevent that licensee from subsequently relying on the ETSI IPR Policy to protect

   against claims for injunctions.”60 However, the issue in that case was whether

   Motorola’s action for injunctive relief against Apple was in conflict with

   European Commission competition law. The Commission found that Apple’s

   willingness throughout the process to license on FRAND terms and conditions

   pursuant to the German Orange Book precedent meant that it was a violation of




  58
     Djavaherian Declaration 84., footnote 49.
  59
     Djavaherian Declaration e.g., 84.
  60
     Djavaherian Declaration 79.; see also Thales Reply, page 7.
                                                 26
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   competition law for Motorola to nevertheless pursue injunctive relief under

   European competition law.

       43.    Mr. Djavaherian’s attempt to compare the Motorola case to the present

   case relies on incorrect characterizations of both the issues under review and the

   facts of the case. For example, Mr. Djavaherian fails to mention more precisely

   that in the Motorola case “Apple argued that certain clauses of the Settlement

   Agreement, which hinder its ability to challenge the infringement and validity of

   the SEPs covered by the Settlement Agreement, are void.”61

       44.    In addition, the European Commission’s decision declined to impose a

   fine on Motorola, because the CJEU had not yet ruled on the circumstances in

   which obtaining an injunction for a standards-essential patent subject to a FRAND

   commitment could violate European competition law.62 In the meantime, the

   CJEU has ruled on this issue.63 The result is that the CJEU decision provides

   further support for the proposition that licensees must not engage in reverse hold-

   up, and rather must promptly respond to offers of FRAND licenses from essential

   IPR holders with FRAND counteroffers and must also provide suitable security

   for royalty payments during the course of negotiation. The CJEU did not articulate


  61
     CLA-0181, European Commission, Case AT.39985, Motorola - Enforcement of GPRS
  Standard Essential Patents ¶ 171, 39985 928 16.pdf (europa.eu).
  62
     European Commission, Case AT.39985, Motorola - Enforcement of GPRS Standard Essential
  Patents ¶ 561, 39985_928_16.pdf (europa.eu).
  63
     CJEU (Court of Justice of the European Union) Huawei v. ZTE, No. C-170/13, July 16, 2015,
  CURIA - Dokumente (europa.eu).
                                               27
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   any requirement that the IPR holder disclose other license agreements in support

   of a “non-discrimination” analysis.

          45.    The CJEU decision also reaffirms the rights of IPR holders to obtain

   fair and adequate compensation for the use of their IPRs and to enforce standard

   essential patents against implementers/infringers who are unwilling to take a

   license. This further development of the law underscores the importance of

   appropriately accounting for the SEP holder’s intellectual property rights.

  X.       MR. DJAVAHERIAN’S CRITICIZATION OF ME PERSONALLY

          46.    In the later part of his declaration, Mr. Djavaherian bluntly attempts to

   put in doubt my experiences and opinions, including my specific work during the

   5 ½ years of the development of the ETSI IPR Policy. But Mr. Djavaherian never

   offers any proof for what he personally thinks. He claims that it is “apparent from

   the minutes of the various meetings and the associated contributions that Dr.

   Huber was not, at the time, a leading contributor to the ETSI Committee.”64 This

   is not true, however, and Mr. Djavaherian cannot support this opinion because it is

   a fact that only a minimal fraction of the relevant documents and minutes of the

   numerous meetings of the original ETSI IPR Committee are available in the ETSI




  64
       Djavaherian Declaration 88.


                                               28
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   archives.65 The only documents which are available are the minutes of the ETSI

   General Assemblies and a few ETSI Technical Assemblies which dealt with the

   ETSI IPR Policy. But discussions, exchange of arguments and drafting of the

   language of the ETSI IPR Policy did not take place at these assemblies. They took

   place in the original ETSI IPR Committee of which I was a member from day

   one.66 Of course, Mr. Djavaherian cannot know about details of meetings where

   he has not participated, such that he can opine on my participation, and he has not

   referenced any minutes or other related documents from such meetings. Thus, Mr.

   Djavaherian’s criticism of my alleged “individual views” on “ETSI’s intentions”67

   is wrong.

       47.     Moreover, I see nothing in Mr. Djavaherian’s qualifications or

   background that would give him any source of knowledge or expertise concerning

   the deliberations around the ETSI IPR Policy in the early 1990s. According to

   Mr. Djavaherian’s CV, he was an undergraduate student during the relevant time

   period. Mr. Djavaherian is speculating about what occurred in the past at ETSI

   based on his review of a small subset of the relevant documents. By contrast, I



  65
     In fact, to my knowledge, only the minutes from the ETSI Special Committee on IPR
  instituted in 1994 where I was also called to participate and which I cited in my first Declaration
  69.-70. are contained in the ETSI archives. To be precise, the ETSI Special Committee on IPR
  consisted only in a fraction of the members of the ETSI IPR Committee, namely those
  specifically called to participate (I was among them).
  66
     Please refer to my first Declaration 23.
  67
     Djavaherian Declaration 92.
                                                  29
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   was participating actively as a member of the ETSI IPR Committee throughout

   the whole phase when the ETSI IPR Policy was elaborated. Therefore, I disagree

   with Mr. Djavaherian’s efforts to retroactively interpret the history of the adoption

   of the ETSI IPR Policy to conform to his novel theories.

       48.    Mr. Djavaherian also cites from an article of Mr. Rosenbrock, the

   former Director-General of ETSI.68 This cited article, as an earlier article I had

   written, was dealing with the issue of whether the ETSI IPR Policy requires

   license to all or access to all. It is thus used out of context by Mr. Djavaherian in

   his declaration and has no relevance, nor have I noticed Thales even discussing or

   relying on it in its reply brief. To go into all the details of why Mr. Djavaharian is

   wrong and mischaracterizing it would take too much effort and not be relevant

   anyway. I just note that the selective quotes picked by Mr. Djavaherian do not

   allow for a comprehensive appreciation.

       49.    I also note that, because Mr. Djavaherian oddly wants to compare me to

   Mr. Rosenbrock, Mr. Rosenbrock took office towards the end of 1990 (when the

   work of the original ETSI IPR Committee69 was already ongoing for 1 ½ years).

   Previously he held technical and administrative positions at the German Federal



  68
    Djavaherian Declaration 89. sqq.
  69
    Note: The original ETSI IPR Committee (IPRC) where I participated in, should not be
  mistaken for the much later instituted ETSI IPR Special Committee (IPRSC) which continues to
  exist today. The IPRSC was formed in 2007, many years after the adoption of the ETSI IPR
  Policy in 1994.
                                               30
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   Post Office, later the Federal Ministry of Post and Telecommunications. He never

   worked in industry or in any legal function, e.g., dealing with license negotiations.

  XI.    MISINTERPRETING CJEU HUAWEI V. ZTE

        50.   Mr. Djavaherian assumes that the CJEU in its decision Huawei v. ZTE

   has “expressly addressed the SEP owner’s obligation to provide information

   regarding its royalty methodology.”70 But this is Mr. Djavaherian’s interpretation

   but not the language used by the CJEU which requires “specifying ... the royalty

   and the way in which it is to be calculated.”71 In other words, the CJEU requires

   under European competition law that a licensing offer to be made by the SEP

   holder to contain sufficient information not only about the royalty rate as such but

   also about further elements constituent for the specific calculation of the royalty

   when properly performing the concluded license agreement. This comprises for

   example the royalty base, the payment intervals, etc. It would certainly be

   overreaching to expect this to include internal business calculations and

   assumptions of the licensor as Mr. Djavaherian appears to believe.

  XI. CONCLUSION

        51.   My specific rebuttals are set forth above, but in conclusion, I note again

   that in general, Mr. Djavaherian’s positions appear to rest on the assumption that



  70
   Djavaherian Declaration 99.
  71
   CJEU (Court of Justice of the European Union) Huawei v. ZTE, No. C-170/13, July 16, 2015,
  CURIA - Dokumente (europa.eu). 71.
                                              31
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                             EXHIBIT A
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                                    Regional Court Düsseldorf

                                             4a O 15/17

                                  Decision of 09 November 2018



     […]




                                              Grounds

     […]

     III.

     The defendant cannot successfully invoke the antitrust compulsory license objection.

     It cannot be established that the plaintiff is using its dominant market position (see point
     1) in an abusive manner (see point 2).

     1.

     The plaintiff holds a dominant market position within the meaning of Article 102 TFEU.

     a)

     “Dominance” in this context means economic power which allows a company to prevent
     effective competition on the market (in time, geographically and objectively) and to
     behave to a significant extent independently of its competitors, customers and
     consumers (ECJ SIg. 78, 207 para. 65 et seq. - United Brands; ECJ ECR 79, 461 para. 38 et
     seq. - Hoffmann-La Roche). The exact definition of the market in product and geographic
     terms is carried out by mean of the so-called demand market concept. It is necessary to
     identify the competitive forces to which the companies concerned are subject. It also
     identifies those companies which are effectively able to constrain the behaviour of the
     companies concerned and to prevent withdrawal of competitive pressure. It must be
     clarified which products or services are functionally interchangeable from the point of
     view of the consumers. It is allocated to the same product market what cannot be
     substituted by other products or services from the point of view of the consumer due to
     the respective characteristics, prices and intended uses. A combination of several factors
     (e.g. market share, company structure, competitive situation, behaviour on the market; but
     basically not the price) must be taken into account

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     (Higher Regional Court Düsseldorf, judgment of 30 March 2017, docket no. I-15 U 66/15,
     para. 148 – Mobiles Kommunikationssystem, cited according to juris).

     In connection with the prohibition rights from a patent asserted here, the demarcation
     described is to be made in relation to the licensing market (Higher Regional Court
     Düsseldorf, ibid., para. 149; Kühnen, ibid., chap. E., para. 217): The supplier is the patent
     proprietor, who alone is able to grant a license for the respective patent; the buyer is the
     user interested in the patent-protected technology. The mere ownership of patents alone
     does not constitute a dominant position. If, however, the patent owner is given the
     opportunity to prevent effective competition on a downstream market by means of his
     monopoly position due to additional circumstances, then a dominant market position
     exists (ECJ, GRUR Int 1995, 490 - Magill TVG Guide; ECJ, WuW 2013, 427 - Astra Zeneca;
     Federal Court of Justice, NJW-RR 2010, 392 ff. - Reisestellenkarte). Such a downstream
     product market exists for goods/services licensed under the patent.

     Not every standard essential patent as such establishes market dominance (Higher
     Regional Court Düsseldorf, ibid., para. 150; Kühnen, ibid., chap. E., para. 220). However, such
     a situation is to be assumed without further ado if access to the use of the SEP in question
     presents itself as a genuine prerequisite for market entry (Higher Regional Court
     Düsseldorf, loc. cit.; Kühnen, ibid., chapter E, para. 221), which is the case if only products
     are offered and demanded on the relevant market that implement the standard through
     the use of the SEP (Higher Regional Court Düsseldorf, loc. cit.; Kühnen, loc. cit.). The same
     applies if products are offered on the relevant market that do not have the SEP product
     configuration, but a competitive offer is not possible without access to the use of the
     contested SEP (Kühnen, op. cit.).

     Conversely, it follows from the foregoing that the lack of standard essentiality of a patent
     does not necessarily preclude the assumption of dominance. Market dominance can
     result from the technical or economic superiority of a patented invention even without
     standard essentiality (Higher Regional Court Düsseldorf, loc. cit.).

     The defendant bears the burden of presentation and proof for market dominance in
     accordance with the general principles (Higher Regional Court Düsseldorf, ibid., para. 151;
     Kühnen, ibid., chapter E, para. 225). In this respect, the defendant is required to submit very
     concrete facts which permit a judicial review of whether or not a dominant position exists
     on the relevant geographic and product market (Kühnen, loc.cit.).

     b)

     On the basis of the foregoing principles, there is no reasonable doubt that the plaintiff, by
     virtue of its capacity as proprietor of the patent, enjoys a dominant position on the market.

     The defendant has argued that there is no economically viable ("realistic") alternative to
     the AVC/H.264 patent pool on the licensing market for the AVC/H.264 standard. The

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     defendant further substantiated this submission by referring to an article by M P
     Sharabayko and N G Markov written for the "International Conference on Information
     Technologies in Business and Industriy 2016" under the title "H.264/AVC Video
     Compression on Smartphones" (Annex B1; German translation: Annex 1a) and argued that
     almost all smartphones available worldwide make use of the standard at issue in order to
     play video content. The plaintiff has not contested that submission.

     Also, there is no interchangeability of the AVC/H.264 standard with other common video
     coding standards - which the plaintiff also does not deny.

     The foregoing also applies in particular to the technical function provided by the patent
     in suit. The patent in suit is essential for the use of the AVC/H.264 standard (cf. Section I).

     2.

     However, it cannot be established that the plaintiff abused its dominant market position
     by failing to comply with the requirements laid down in the ECJ ruling for the holder of
     an SEP for which a FRAND declaration exists.

     a)

     The European Court of Justice (ECJ) has imposed on the holder of a standard essential
     patent (hereinafter referred to as "SEP"), who has undertaken vis-à-vis a standardization
     organization to grant a license to any third party on fair, reasonable and non-
     discriminatory terms ("FRAND" = "fair, reasonable and non-discriminatory"), in the case K
     / C, docket no. C-170/13, with judgment of 16 July 2007 in the form of the order of correction
     of 15. December 2015 (GRUR 2015, 764) in interpretation of Art. 102 TFEU duties which, if
     the holder of a standard essential patent complied, result in a suit for injunctive relief or
     recall being regarded not as an abuse of its dominant market position (ECJ, GRUR 2015,
     764, para. 55) (see lit. aa). The case at issue must also be assessed according to these
     stipulations (see lit. bb)

     aa)

     The ECJ judgement referred to results in a regime of duties/obligations to be followed by
     the patent proprietor and the patent user, the individual procedural steps of which build
     on one another, so that the infringer only has to react in the manner incumbent upon him
     if the patent proprietor has previously fulfilled the duties incumbent upon him (Higher
     Regional Court Düsseldorf, Urt. v. 30.03.2017, Az.: I-15 U 66/15 - Mobile communication
     system, cited after juris).

     This regime provides that the patentee must inform the alleged infringed party "before
     filing the action" (or "before the judicial assertion"), stating the SEP in question and the
     nature of the infringement (ECJ, GRUR 2015, 764, recitals 62 and 71). If the alleged infringer
     has thereupon expressed his willingness to enter into a licence agreement under FRAND
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     conditions, the patentee must submit a concrete written licence offer under FRAND
     conditions (ECJ, ibid., para. 71) in order not to expose himself to the allegation of abuse of
     his dominant market position. This must indicate in particular the licence fee and the way
     in which it has been calculated (op.cit.). It is then incumbent on the alleged infringer to
     respond to this offer with care, in accordance with business practices recognised in the
     field and in good faith (ECJ, ibid., para. 65, 71). If the alleged infringer does not accept the
     offer, he may invoke the objection of abuse regarding an injunction or recall action only
     if he makes the holder of the SEP concerned a concrete counter-offer in writing within a
     short period, which complies with the FRAND conditions (ECJ, ibid., marginal 66).
     Furthermore, from the time when his counteroffer is rejected, the patent user must
     provide adequate security in accordance with the business practices recognised in the
     relevant field (ECJ, ibid., para. 67).

     The antitrust restrictions established by the ECJ for the assertion of the injunction and
     recall claim also apply to the destruction claim (Higher Regional Court Düsseldorf, order
     of 13 January 2016, docket no. I-15 U 65/15, para. 16, cited after juris).

     bb)

     The ECJ case law described above also applies to the present case.

     To the extent that the plaintiff is of the opinion that the present constellation of facts,
     according to which - which is still to be shown - a routine licensing practice already exists,
     precludes an application of the principles set out in the cited ECJ judgment, and that it is
     rather a recourse to the so-called "Orange Book Standard" jurisdiction, which imposes on
     the patent user the requirement of an offer to conclude a licensing agreement (BGH, GRUR
     2009, 694, para. 29), the Chamber does not agree with this.

     As can be inferred from the grounds of the judgment, the ECJ has seen the facts to be
     assessed by it characterised by the fact that "on the one hand" the plaintiff's patent is
     essential for a standard standardised by a standardisation organisation (ECJ, GRUR 2015,
     764, para. 48) and "on the other hand" an irrevocable promise exists on the part of the
     holder to grant licences to third parties under FRAND conditions (ECJ, ibid., para. 51). It is
     precisely with these aspects that the ECJ links the special catalogue of obligations drawn
     up for the patent proprietor:

     "In such a constellation, in order for an action for injunction or recall not to be regarded
     as abusive, the SEP holder must fulfil conditions designed to ensure a fair balance
     between the interests concerned". (ECJ, ibid., recital 55; emphasis on this point).

     The (further) delimitation of the initial situation described in this way from cases in which
     an existing licensing practice exists, on the other hand, cannot be inferred from the ECJ
     ruling. It is true that paragraph 64 of the ECJ judgement states that



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     "[…]. Moreover, where neither a standard licence agreement nor licence agreements
     already concluded with other competitors have been published, the SEP holder is better
     placed than the alleged infringer to determine whether his offer complies with the
     conditions of equal treatment".

     However, the ECJ did not want to create a further differentiation criterion in this way. The
     linguistic introduction with the word "moreover", which merely marks an additional
     argument for the view that the patentee must take the initiative in the direction of
     concluding a licence agreement, speaks against this. The systematic position of the
     passage in relation to the description of the obligations of the proprietor of the patent,
     which follows precisely from the particularities described above (paragraphs 48 and 51),
     also underlines that only an additional argument for those obligations is to be presented
     and not a new distinguishing criterion. Ultimately, the fact that the expectation raised by
     the patent holder that he would be prepared to conclude a licence agreement under
     FRAND conditions remains valid even in such a case (ECJ, ibid., para. 54) also speaks
     against a departure from the established duty programme in the case of an existing
     licensing practice. This is even more encouraged by the already "lived" licensing practice.
     Similarly, in these cases the possibility of a lack of information regarding the use of the
     doctrine of a standard essential patent by the alleged infringer remains - a circumstance
     which led the ECJ to statute the obligation of the patentee to make an initial offer (ECJ,
     ibid., para. 62). The mere fact that a standard license agreement has been published does
     not imply that the patent user is aware of the use of the standard essential patent(s). The
     search for a corresponding standard license agreement might rather require such
     knowledge as a rule.

     In addition, the view that an established licensing agreement practice goes beyond the
     principles set out in the ECJ ruling also leads to practical problems in defining when such
     a constellation can be assumed to exist.

     However, the previous remarks do not exclude the possibility of giving special importance
     to any existing licensing practice of the patent proprietor in the context of the
     examination of the duty programme to be provided by him, for example by attributing to
     it an indicative effect for the appropriateness of the contract terms offered (Higher
     Regional Court Düsseldorf, decision of 30 March 2017, docket no. I-15 U 66/15, para. 203 –
     Mobiles Kommunikationssystem, cited according to juris; Regional Court Düsseldorf,
     decision of 31 March 2016, docket no. 4a O 73/14, para. 226, cited according to juris; Kühnen,
     ibid., Chapter E, para. 423).

     b)

     The e-mail dated 08 September 2011 (Annex K9 - Exhibit B) contains a sufficient
     notification of infringement.




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     Since the notice of infringement "must designate the SEP in question and indicate the
     manner in which it is alleged to have been infringed" (ECJ, ibid., para. 61), at least the
     indication of the publication number of the patent in suit, the attacked embodiment and
     the accused act of use (within the meaning of Sections 9 et seq. of the German Patent Act
     (PatG)) to the infringer is required (Higher Regional Court Düsseldorf, Urt. v. 30.03.2017, ref.:
     I-15 U 66/15, marginal 172 - Mobile communication system, cited according to juris).
     However, the notice of infringement does not require detailed (technical and/or legal)
     explanations - the other part only needs to be put in a position - if necessary with expert
     assistance - to examine the allegation of infringement (Higher Regional Court Düsseldorf,
     loc. cit.; Kühnen, ibid., chapter E., marginal no. 328; further Regional Court Mannheim,
     judgment of 29.01.2016 - 7 O 66/15 - marginal no. 57). The purpose of the infringement
     report is to give the user, who may still be in good faith with regard to the encroachment
     on the protected area, the opportunity to inquire about the granting of a usage permit
     promised to any interested party on the basis of the FRAND declaration (Kühnen, loc.cit.).
     However, the obligation to make a voluntary disclosure is not an end in itself. It is
     therefore dispensable where it presents itself as a useless formality because, on the basis
     of the overall circumstances, it can be assumed with certainty that the defendant
     infringing the patent has knowledge of the use of the patent by the challenged form of
     performance and that his reference to the fact that the plaintiff did not notify him of this
     appears as an abuse of rights (Kühnen, ibid., Chapter E., para. 33). However, high demands
     must be made regarding the existence of such an offence (loc. cit.).

     According to this provision, the letter of MPEG LA dated 08 September 2011 (Annex K9 -
     Exhibit B) proves to be a sufficient indication of infringement.

     aa)

     The fact that the letter in question was exchanged between MPEG LA and the parent
     company of the defendant is not detrimental.

     (1)

     If - on the part of the patent user - it is ensured that an infringement notification sent to
     the parent company is forwarded within the group to the respective subsidiaries
     concerned, no formal notification is required to all subsidiaries (Higher Regional Court
     Düsseldorf, loc. cit., para. 175; Kühnen, ibid., Chapter E, para. 329). In the absence of any
     indications to the contrary, group membership alone gives rise to the justified assumption
     that the subsidiaries concerned will be informed (Higher Regional Court Düsseldorf,
     loc.cit.).

     In addition, the parties' prior correspondence in this case also justifies the confidence that
     information concerning licensing issues will be passed on within the defendant's group.

     So the MPEG LA wrote in the e-mail of 08 September 2011 first to Mr. M:

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     "N has advised me to contact you as you are responsible for patent licensing issues at C."

     In response to this request from MPEG LA, which was obviously looking for the contact
     responsible for IP matters at the C Group, the parent company's reply email of 15
     September 2011 (Annex K9 - Exhibit B; German translation: Annex K9 - Exhibit B - a) from
     Mr. O:

     "„[…]. I'd like to introduce myself. My name is O and [I] am an IPR manager at the C Group.
     I've just been assigned as your contact. As you mentioned below, my colleague Mr M will
     receive some documents from you via FedEx. Since this is an express delivery, I wanted
     to ask if it would be possible, if you have not yet sent the documents, to send them to me
     at the address indicated on the signature."

     The parent company then fueled confidence that MPEG LA was in contact with the right
     person to negotiate a corporate license.

     (2)

     The letter written by MPEG LA can also be interpreted as an indication of infringement on
     the part of the plaintiff.

     It is to be expected that MPEG LA may take legal action in connection with the granting
     of licenses to the AVC/H.264 patent pool.

     The standard licence agreement for the pool at issue here (Annex K9 - Exhibit P - a) is
     concluded, after the entry pass,

     "This Agreement was entered into on XXX 20XXX between MPEG LA, LLC, a limited
     liability company incorporated under the laws of the State of Delaware with its registered
     office in Denver, Colorade, USA (hereinafter referred to as "Licensee"), and XXX
     (hereinafter referred to as "Licensee").",

     between MPEG LA and the respective licensee. For this purpose, sublicenses are granted
     to MPEG LA by the holders of the pool patents:

     "Each Licensor grants to the Licensee a worldwide, non-exclusive license and/or
     sublicense to all patents essential to AVC that may be licensed or sublicensed by the
     Licensor to enable the Licensee to grant to the Licensee worldwide, non-exclusive
     sublicenses to all such patents essential to AVC under the terms of this Agreement.
     (Standard licence agreement, Annex K9 - Exhibit P - a, p. 2, last paragraph).

     Point 3.1 of the standard licence agreement (Annex K9 - Exhibit G - a; emphasis on this
     point) also states that:



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     "For the licenses granted under Article 2 of this Agreement under the AVC Essential
     Patents in the AVC Patent Portfolio, the Licensee shall pay to the Licensee the following
     fees to the benefit of the licensors for the term of this Agreement:".

     This content of the contract does not directly regulate the contractual relationship
     between MPEG LA and the respective pool patent holders - the subject matter of the
     contract is rather the contractual relationship between MPEG LA and the respective
     licensee - but it gives an indication of the possibilities for action of MPEG LA in connection
     with the licensing of the standard at issue here.

     After presenting the standard license agreements, the defendant also did not deny that
     MPEG LA had concluded them, i.e. that the model referred to in the standard license
     agreement is lived.

     Furthermore, the defendant's procedural conduct, according to which it "considers it
     questionable" that the plaintiff can transfer its antitrust obligations to MPEG LA and that
     MPEG LA can assume these obligations for the plaintiff, is (procedurally) also irrelevant
     because its parent company itself became the pool patent holder in September 2012, thus
     being aware of the possibilities for action of MPEG LA within the scope of licensing the
     standard at issue here, in particular the granting of a right to sublicense to MPEG LA by
     the pool patent holders.

     bb)

     With regard to the substantive requirements for a notice of infringement, the defendant
     is entitled to have the letter of MPEG LA dated 08 September 2011 (Annex K9 - Exhibit B/
     Exhibit B - a) contain only general information on the infringing product - referred to there
     as "mobile handset and tablet products" - and on the infringed property right(s) - in the
     form of a reference to "the AVC patent portfolio" with "more than 1000 essential AVC
     patents of 25 patent holders". It does not mention the publication number of concrete
     patents from the extensive pool or the concrete designation of alleged infringing
     products.

     However, this content is exceptionally sufficient against the background of the
     preliminary correspondence between the defendant's parent company and MPEG LA as
     well as the parent company's conduct after the notice of infringement.

     The defendant does not deny that the parent company was aware of the pool patents and
     that the standard license agreement had already been concluded with a large number of
     market participants. This is also obvious because the MPEG LA website provides
     information both on the pool composition (in particular in the form of the list of patent
     holders and associated patents, Annex K9 - Exhibit E/ Exhibit E - a, and in the form of the
     Cross Reference Chart, Annex K9 - Exhibit G) and on the licensees (Annex K9 - Exhibit H/
     Exhibit H - a).

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     The defendant claims that the parent company was nevertheless unable to conclude that
     the mobile telephones and tablets attacked would make use of the doctrine of the
     plaintiff's patent. However, the contrary assumption is supported by the fact that the legal
     department of the C Group and MPEG LA had already been in contact since 2006 with
     regard to the standard license agreement, in the course of which the same agreement was
     brought to the attention of the Group several times. A corresponding knowledge on the
     part of the parent company is further suggested by the fact that approximately one year
     after the e-mail of 8 September 2011 in question here, the parent company itself acquired
     patents stored in the pool, which requires a certain amount of market observation even
     before this purchase decision is made. Finally, a further indication results from the fact
     that the parent company did not requested further information to determine the
     infringement question within the framework of the licence agreement negotiations that
     followed in the years 2013 - 2017.

     In the light of the foregoing, it can be assumed from an overall view that the parent
     company was aware of the AVC/H.264 patent pool as such and of the need to license AVC-
     enabled products to mobile and tablet operators.

     c)

     The parent company has also sufficiently indicated its willingness to license.

     The parent company of the defendant responded by e-mail of 15 September 2011 in the
     person of Mr O (Annex K9 - Exhibit B/Exhibit B - a) to the message of the MPEG LA of 08
     September 2011 by requesting that the contract documents be sent to itself as the
     responsible person.

     This may not reflect concrete references to a possible contract, but the communication -
     which is sufficient - does reflect the parent company's will to address licensing issues
     relating to the AVC/H.264 standard.

     The fact that the MPEG LA also understood the reaction in the sense outlined becomes
     clear in the following correspondence, in which the negotiating parties - after receiving
     the contract documents - tried to find a date for a meeting (cf. e-mail of Mr. O dated 26
     September 2011 and e-mail of Mr. P (MPEG LA) dated 17 September 2011, both Annex K9 -
     Exhibit B/ Exhibit B - a).

     The party submissions do not reveal whether and how the negotiations continued in 2012.
     However, this does not imply that the parent company is not prepared to dissociate itself
     from the basic willingness to license. Among other things, there is communication
     between the parent company and MPEG LA from the years 2013 and 2016 (in particular
     letter of MPEG LA dated 07.01.2013, Annex K9 - Exhibit C; German translation: Annex K9 -
     Exhibit C - a; e-mail traffic, Annex Volume B8; German translation: Annex Volume B8a),


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     in which the license negotiations - now taking into account the fact that the parent
     company itself had become a member of the pool - were continued.

     d)

     By sending the standard license agreement to the parent company in February 2012, a
     FRAND-compliant offer attributable to the plaintiff was submitted, which both meets the
     (rather) "formal" requirements established by the ECJ (see lit. aa)) and proves to be fair,
     reasonable and non-discriminatory in terms of content (see lit. bb)).

     aa)

     MPEG LA's offer in the form of the standard license agreement sent at the end of
     September 2011 meets the (rather) "formal" requirements that the ECJ places on the patent
     holder's offer.

     The offer must then be made in writing and must also be concrete in the sense that it
     specifies the licence fee and the relevant calculation parameters (relevant reference
     value, applicable licence rate, staggered rate if applicable) as well as the method of
     calculation (Higher Regional Court Düsseldorf, decision of 30 March 2017, docket no. I-15
     U 66/15, para. 203 – Mobiles Kommunikationssystem, cited according to juris; Kühnen,
     ibid., Chapter E. para. 325). The points which are usually the subject of licensing
     agreements must be included in the offer in the form of meaningful provisions (Higher
     Regional Court Düsseldorf, loc.cit.).

     These criteria are fulfilled with the delivery of the standard license agreement document.

     (1)

     In terms of its objective explanatory value, the sending of the standard license agreement
     is a sufficiently concrete offer. The content of the contract recognisable from this is in
     particular also suitable to legitimise the acts of use of the C Group.

     (a)

     By sending the standard licence agreement and the information contained in the e-mail
     of 08 September 2011 (Annex K9 - Exhibit B/ Exhibit B - a), the parent company was able to
     recognise that MPEG LA was seeking to conclude a licence (under the terms of the
     standard licence agreement).

     This is stated in the e-mail of 08 September 2011 (Annex K9 - Exhibit B - a):

     "Today I am sending you copies of our MPEG-4 Visual License, AVC License and VC-1
     License for review. [...] Enclosed I also send you a .pdf-version of all licenses for easier

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     viewing. Please note that the electronic copies are for information purposes only and
     cannot be used for signature".

     Conversely, it follows from the information, limited solely to the digital version of the
     contract, that the documents thus received cannot serve as the relevant contractual
     document that the documents sent by post could very well fulfil that function. The
     intention of MPEG LA to conclude the contract was therefore openly stated in the mailing
     of the same.

     The offer character of the sending of the standard license agreement is not missing
     because MPEG LA had already sent contract documents for the disputed standard to the
     parent company. As the sending of the contract documents in September 2011 was
     preceded by the e-mail of 08 September 2011 (Annex K9 - Exhibit B/ Exhibit B - a), the
     parent company was able to recognise - as stated under b) - that MPEG LA was interested
     in initiating concrete contract negotiations on the standard at issue.

     Finally, the standard contract also indicates the parameters required for the licence
     calculation, whereby the calculation factors for the unit licence are derived in particular
     from Clause 3.1.1.

     (b)

     It is also harmless that the standard license agreement was not addressed to the
     defendant but to the person in charge of the license negotiations in the defendant's group
     ("O"). The conclusion of a group license was in question (cf. Kühnen, ibid., Chapter E., recital
     320) and Mr. O expressly asked for the documents to be sent to him by e-mail dated 15
     September 2011.

     (c)

     Finally, the assumption that an offer in the form of the standard licence agreement send
     to the parent company, which also covers the defendant, is not precluded neither by the
     fact that by this licensing of the subsidiaries was not directly achieved, nor that according
     to Section 2.1 of the standard licence agreement a licensing of distribution activities takes
     place vis-à-vis end customers, but not vis-à-vis wholesalers and retailers - as practised by
     the defendant.

     As already explained, it is in principle - also in this case - in accordance with a FRAND
     procedure that the patent proprietor prepares possible licence negotiations by sending a
     notice of infringement to the parent company of a group of companies (cf. in this regard
     under lit. b), aa), (1)) and conducting the subsequent contract negotiations with this
     company (cf. in this regard lit. (b)). It follows from this that, in principle, this
     communication between the patent proprietor and the parent company must also be



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     taken into account for the assessment of the prospects of success of a later antitrust
     compulsory license objection.

     Something else may apply if - which is not to be decided here - it is already expressed
     either in the preparatory acts for the contract negotiations or within the framework of the
     contract negotiations themselves that subsidiaries affiliated to the group cannot be
     covered by the contract offer submitted to the parent company from the outset.

     That's not the case here, though.

     The contractual offer submitted to the parent company does not exclude the possibility of
     licensing the subsidiaries from the outset. MPEG LA has - which is undisputed between
     the parties - rather expressed the need for licensing of all group companies, although the
     concrete form of a license covering all group companies would be clarified during the
     contract negotiations.

     The licensing of the subsidiaries, too, is already expressed in the standard document sent
     to the parent company in Section 2.9, which declares the general willingness of the
     subsidiaries to also conclude licenses. In practice, the licensing of group-affiliated
     companies is implemented through various variants. First, there is the possibility that the
     top management will guarantee that the parent company will take a license covering the
     entire group - as in the case of the Q group, for example. If other group companies only act
     as distribution companies of the parent company ("distribution chain"), a licensing by the
     parent company alone is sufficient to legitimise the distribution of the subsidiaries via the
     exhaustion principle. Furthermore, licenses can be granted to all subsidiaries by means
     of a separate affiliate agreement, or each company concludes its own license agreement
     - as is the case with the "R Group". The fact that the course of the contract negotiations -
     offer to the parent company with subsequent negotiation of further contract details - took
     place in the manner described can be found for example in the e-mail of the P (MPEG LA)
     of 29 April 2016 (annex B8/ annex B8a), in which it says among other things:

     "As discussed, our licenses cover the legal entity that offers the final products on the
     market. Therefore, C would complete the licenses to cover all of C's products that contain
     the applicable technologies."

     On the basis of the foregoing, it also follows that the fact that the standard licence
     agreement does not cover acts of distribution to wholesalers and retailers, as undertaken
     by the defendant, does not preclude a suitable offer.

     Irrespective of the fact that the defendant - as the screenshot presented as Annex K6
     shows - in any event also acts as an offeror to end customers, it is now undisputed
     between the parties following the presentation of the standard licence agreements
     already concluded that distribution activities to wholesale and retail customers are also


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     legitimised at least via the principle of exhaustion. The fact that this was not apparent to
     the parent company at the time the offer was made is harmless.

     In this context, it is also important to note that the usual starting point for contract
     negotiations in this business field is communication with the parent company, which use
     is undisputedly covered by the standard license agreement. The question of the inclusion
     of the acts of use of the subsidiaries is then the subject of contractual negotiations
     following the offer made to the parent company. In this context, the question of licensing
     distribution activities to commercial customers would also have had to be discussed with
     the result already presented here. In the present case, however, the parent company did
     not include this aspect in the contract negotiations, which would have been expected if it
     had identified an obstacle to the conclusion of the licence agreement. This is all the more
     true as only she - unlike the responsible MPEG LA - knew in detail the group structures
     that were considerable for the conclusion of the license agreement.

     (2)

     As a result, the way in which the licence fee is calculated is also sufficiently explained,
     although neither the contractual document nor the documents sent in connection with it
     explicitly refer to it.

     As information on the "method of calculation", the ECJ does not only require information
     on the amount of the licence fee and its calculation. Rather, the SEP holder must explain
     to the infringer in a concrete and comprehensible manner why the proposed licence fees
     are FRAND (Higher Regional Court Düsseldorf, ibid., para. 203; Kühnen, ibid., Chapter E.,
     para. 309). The method of license fee calculation does not require strict mathematical
     derivation. If this is possible in a specific case, it is sufficient to demonstrate the
     acceptance of the required (standard) license rates on the market by way of license
     agreements already concluded (Regional Court Düsseldorf, decision of 13 July 2017, docket
     no. 4a O 154/15, para. 311, cited according to juris). However, the patentee then has to justify
     (more or less substantiated depending on the circumstances of the individual case), in
     particular, why the royalty envisaged by him is FRAND precisely against this background
     (Higher Regional Court Düsseldorf, ibid., para. 203; Regional Court Düsseldorf, ibid., para.
     310; Kühnen, ibid., para. 326). If there is a sufficient number of licence agreements and
     acceptance on the market can be demonstrated in this way (e.g. market share of products
     licensed at a certain fee level), no further information on the appropriateness of the
     licence fee level will normally be required (Regional Court Düsseldorf, ibid., para. 311).
     However, the SEP holder must, in principle, present a report on all major license
     agreements - otherwise there is a risk that only those agreements will be presented that
     support the required level of license fees (Regional Court Düsseldorf, ibid., para. 313).

     In accordance with the above, the manner of calculation in connection with the offer in
     question has been sufficiently explained.


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     The standard license agreement, which was received by the parent company in
     September 2011, does not itself contain any information on the method of calculation in
     the sense set out above. In this respect, however, the parent company's knowledge that
     the contractual document is a standard license agreement which has already been
     concluded by a large number of licensees can be used as a basis.

     In this respect, reference can essentially be made to the explanations under b), bb) above.
     In addition, the e-mail of 08 September 2011 (Annex K9 - Exhibit B - a) also contains a
     reference to the fact that the conclusion of the standard licence agreement is customary
     when it says:

     "Normally, C would have to negotiate individual licenses directly with each individual
     patent holder, but our patent portfolio licenses allow license protection through a single
     transaction."

     The submission of the individual concluded licence agreements themselves, on the other
     hand, is not to be demanded within the framework of the offer. It is neither stated nor
     apparent that this is customary in the industry.

     Without prejudice to the foregoing, it must in any event be assumed that, by September
     2012 at the latest, when the parent company itself obtained the status of pool patent
     holder, it had sufficient knowledge of the manner in which the royalties were calculated.

     bb)

     The offer under review here also complies with FRAND principles in terms of content.

     (1)

     Fair and reasonable" contractual terms are those which are not offered to the licensee as
     an abuse of a dominant position. The contractual conditions must be reasonable and may
     not be exploitative (Higher Regional Court Düsseldorf, order of 17 November 2016, docket
     no. I-15 U 66/15, para. 15, quoted according to juris). An offer by the licensor may, in
     particular, prove unfair/inappropriate if a licence fee is charged which significantly
     exceeds the hypothetical price which would have been formed in the case of effective
     competition on the dominant market, unless there is an economic justification for the
     price formation (Regional Court Düsseldorf, decision of 31 March 2016, docket no. 4a O
     73/14, para. 225, cited according to juris; Huttenlauch/ Lübbig, in: Loewenheim/ Meessen/
     Riesenkampff/ Kerstin/ Meyer-Lindemann, Kartellrecht, Commentary, 3. Ed., 2016, Art. 102
     TFEU, para. 182; Kühnen, ibid., Kap. E., para. 245). In the case of a standard property right,
     the inappropriateness may also result from the fact that, in the event of a licence claim, a
     cumulative total licence charge would also arise for the other standard property rights
     which is not economically viable (Kühnen, ibid., Chapter E., para. 246). In this context, it
     should be noted that a mathematically exact derivation of a FRAND-compliant licence fee

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     does not have to be made, but rather an approximate decision based on valuations and
     estimates has to be made (Kühnen, ibid., Chapter E., para. 425). Comparable licence
     agreements can be an important indication of the appropriateness of the licence
     conditions offered (Regional Court Düsseldorf, loc. cit.; Kühnen, ibid., Cap. E., para. 245,
     para. 430). The contractual offer must also prove to be appropriate with regard to the other
     contractual conditions (intellectual property rights subject to licence, licence area, etc.).

     The prohibition of discrimination establishes an obligation of equal treatment for the
     dominant company by requiring it to grant the same prices and conditions to trading
     partners who are in the same position (Higher Regional Court Düsseldorf, decision of 30
     March 2017, docket no. I-15 U 66/15, para. 208 – Mobiles Kommunikationssystem, cited
     according to juris). Only comparable facts are to be included in the principle of equal
     treatment, while market-dominating companies can also react differently to different
     market conditions (loc. cit.). A difference of treatment is therefore permissible if it is
     objectively justified (loc. cit.). The broad scope for objective justification to which the
     holder of an intellectual property right is generally entitled is limited if, in addition to the
     dominant market position, other circumstances arise from which it results that the
     unequal treatment endangers the freedom of competition (Higher Regional Court
     Düsseldorf, ibid., para. 209). These may in particular consist in the fact that access to a
     downstream product market depends on compliance with the patent doctrine (Federal
     Court of Justice, GRUR 2004, 966 (968) – Standard-Spundfass) or that the product - as here
     - is only competitive when the patent is used (Higher Regional Court Düsseldorf, loc. cit.).

     The licence seeker is obliged to provide evidence and evidence for unequal treatment
     (Higher Regional Court Düsseldorf, ibid., para. 212) or the existence of an exploitation
     offence (Regional Court Düsseldorf, decision of 30 November 2006, docket no. 4b O 58/05,
     para. 140 – Videosignal-Codierung I, cited according to juris; Kühnen, ibid., Chapter E, para.
     247, para. 308). However, account must be taken of the fact that the licence seeker
     regularly has no detailed knowledge of the SEP holder's licensing practice, in particular of
     existing licence agreements with third parties and their regulatory content. This justifies
     the imposition of a secondary burden of presentation on the SEP holder, who is naturally
     aware of the contractual relationships with other licensees and who can reasonably be
     expected to provide further information in this regard (Higher Regional Court Düsseldorf,
     ibid., para. 212; Kühnen, ibid., para. E., para. 311). The information on licensees must be
     complete in this context and must not be reduced to a few well-known companies in the
     sector (Kühnen, op. cit.). The lecture must also contain information on which - concretely
     to be named - companies with which significance on the relevant market have taken a
     license and under what concrete conditions (Higher Regional Court Düsseldorf, loc.cit.). If
     unequal treatment has been determined, it is incumbent on the patent proprietor to
     explain any circumstances justifying the different treatment and, if necessary, to prove
     them (Higher Regional Court Düsseldorf, loc. cit.; Kühnen, loc. cit.).




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     (2)

     The defendant's objections to the FRAND compliance, based on the standard set out in
     point (1) above, do not prevail.

     (a)

     The fact that MPEG LA aims to license all group companies in accordance with the
     standard license agreement does not prove to be abusive either from the point of view of
     appropriateness or in consideration of the prohibition of discrimination.

     Group-wide licence agreements are customary in the electronics and mobile
     communications sectors (Kühnen, ibid., section E, para. 411). In this respect, the large
     number of already concluded standard license agreements, which the defendant did not
     contest, also have a considerable indicative effect in this case for the industry customary
     nature of a group-wide license.

     It is also undisputed that the parent company manufactures the attacked embodiments
     and that these are marketed worldwide by subsidiaries, so that the pool patent holders
     also have a special interest in the granting of a group-wide licence against this
     background. This is the only way to avoid a mixture of licensed and unlicensed products
     within a group, which would otherwise lead to effective law enforcement no longer being
     possible in the absence of separability of the rightfully marketed products from the
     infringing products.

     The defendant has not put forward any other circumstances from which it could be
     inferred that the plaintiff/MPEG LA acted in an exploitative or discriminatory manner.

     (b)

     Also, the fact that the standard licence agreement provides for a pool licence does not
     preclude the FRAND compliance of the offer.

     Due to the reference list (Annex K9 - Exhibit G), use of the pool patents is also sufficiently
     explained (cf. with regard to portfolio licenses: Higher Regional Court Düsseldorf, order of
     17 November 2016, docket no. I-15 U 66/15, para. 26 et seq.; Kühnen, ibid., Kap. E., para. 420).

     Offering a license in a patent pool does not in itself constitute grounds for accusations of
     abusive inappropriateness. It regularly serves the well-understood interest of potential
     license seekers that they are offered a one-stop user license for the entire standard at
     uniform conditions, because they are thus relieved of the necessity of having to apply for
     a license for their patents from each individual property right holder (Regional Court
     Düsseldorf, 4b O 508/05, para. 119 - Videosignal-Codierung I, cited after juris). In this
     respect, the "Guidelines on the Application of Art. 101 of the Treaty on the Functioning of

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     the European Union to Technology Transfer Agreements" of 28 March 2014 (Official
     Journal C 89/3) (hereinafter referred to as "the Guidelines") also provide guidance (cf.
     Kühnen, ibid., Chapter E, para. 299). As regards the application of the prohibition of cartels
     under Article 101 TFEU, they provide in paragraph 245 for the following:

     "Technology pools can have pro-competitive effects by reducing transaction costs and
     limiting the accumulation of royalties, thus avoiding double profit maximisation. They
     enable central licensing of the technologies held by the pool. This is particularly important
     in industries where intellectual property rights are of central importance and where
     market presence requires licensing from a significant number of licensors. […].“

     A restrictive effect on competition can only be presumed if further circumstances arise,
     which is also reflected in paragraph 246 of the Guidelines:

     "Technology pools may also restrict competition since their creation necessarily implies
     joint sales of the combined technologies, which may lead to a price fixing cartel in pools
     consisting exclusively or predominantly of substitutable technologies. Moreover,
     technology pools may not only reduce competition between the parties, in particular
     when they support or de facto establish an industry standard, but may also reduce
     competition in innovation by foreclosing alternative technologies. An existing standard
     and a corresponding technology pool can hamper market access for new and improved
     technologies."

     The defendant has not substantiated particular circumstances which make the offer of
     the pool licence appear restrictive of competition in the sense described above. On the
     contrary, after the standard licence agreements already concluded had been submitted, it
     no longer objected to the fact that the granting of licences to the entire pool - and not
     limited to the portfolio of individual pool patent holders - was in line with industry
     practice.

     e)

     The defendant has not made a counteroffer in accordance with FRAND.

     The standard license agreement signed by the defendant in the summer of 2018 is to be
     regarded as a counteroffer (see aa)). However, this contradicts FRAND principles (see bb)),
     which is why the question of whether it has still been submitted in good time is also
     irrelevant.

     aa)

     The standard license agreements signed by the defendant and transmitted to MPEG LA
     in the defendant's letter of 13 September 2018 are to be considered as a counteroffer. This
     does not constitute the acceptance of an offer made by MPEG LA to conclude a standard
     license agreement. The mere availability of the standard license agreement via the MPEG
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     LA website does not constitute an offer. Rather, making the contract document available
     for inspection by interested parties serves as information about the license terms. The
     standard license agreement, which can be understood as an offer, was sent solely to the
     parent company of the defendant (cf. lit. d), aa), (1)).

     bb)

     The counteroffer of the defendant, as set out in lit. aa) above, does not prove to be in
     conformity with FRAND.

     The fact that the standard license agreement is concluded solely between MPEG LA and
     the defendant and not also with the latter's parent company or with the other companies
     affiliated to the group precludes a FRAND moderation of the offer.

     In principle - against the background that a group-related licence is customary in the
     industry (cf. lit. d), bb), (2), (a)) - it is acceptable that the pool patent holders are only
     prepared to grant a licence covering the entire group. This is especially true when the
     prohibition of discrimination is observed, because the conclusion of an AVC/H.264 pool
     license corresponds to the license model practiced with the previous licensees.

     In the present case, even from the point of view of appropriateness, nothing else applies
     because the defendant - in contrast to its parent company - is prepared to license and it
     cannot influence the parent company to conclude the standard license agreement.

     It is true that the defendant's objection that it could no longer do anything to behave in
     accordance with FRAND and to maintain the compulsory license objection under
     antitrust law is, in principle, considerable. This is because affiliated companies are also
     legally independent persons, so that it is not possible to attribute the conduct of one
     person to the other without the existence of special circumstances. However, the
     constellation at issue here is characterised by the fact that the defendant is a wholly-
     owned subsidiary of the parent company. The latter therefore determines the conduct of
     the defendant. In this way, the latter can ensure that licences are synchronised in the
     sense of the industry custom by agreeing to take licences. Therefore, it cannot be
     established that the defendant - against the background of the parent company's refusal
     to accept MPEG LA's FRAND-compliant offer - is being treated inappropriately. Rather, it
     is the case that the parent company, for its part, enforces licensing relating to individual
     companies by merely agreeing - via the defendant subsidiary - to license individual
     subsidiaries. The situation in this case is further characterised by the fact that the parent
     company, as a temporary pool member, had a particular reason for taking a licence in
     order not to behave in a manner contrary to its own loyalty to the pool.




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     f)

     In view of the fact that there is already no counteroffer from the defendant in accordance
     with FRAND, it is irrelevant whether sufficient security has been provided.

     […]




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                             EXHIBIT B
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                                      Federal Supreme Court
                                            KZR 35/17
                                Judgement of 24 November 2020


                                              Ruling


       On appeal and with rejection of the cross-appeal, the judgement of the 15th Civil Senate
       of the Higher Regional Court Düsseldorf of 30 March 2017 is set aside on the issue of costs
       and insofar as the court of appeal found against the plaintiff.
       […]


                                             Grounds
       […]


       II.


 44    The Court of Appeal's assumption that the claim seeking an order against the defendant
       for injunctive relief and to recall patent-infringing products is nevertheless unfounded
       because the defendant's defence of compulsory licensing under antitrust law currently
       prevails, does not withstand the attacks of the appeal.


       1.


 45    In justifying its decision, the Court of Appeal essentially stated: The plaintiff had a
       dominant position within the meaning of Article 102 TFEU. The answer to the question
       in dispute between the parties, whether the implementation of the standard necessarily
       required the use of the patent in suit or whether the standard merely provided for the
       realisation of the technical teaching of the patent in suit as an option, could also be left
       unanswered in this context. The use of the patent in suit was in fact unavoidable because
       UMTS-capable mobile phones - in order to be marketable at all - had to be able to detect
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       several radio carriers. According to the principles established by the Court of Justice of
       the European Union in the Huawei/ZTE case, the legal assertion of the claims for
       injunction, destruction and recall constituted an abuse of this dominant position.
       Although the plaintiff had fulfilled its duty to inform, it had not made the defendants an
       offer that complied with FRAND conditions, despite the defendants' declared and
       continuing willingness to take a licence.


 46    However, the declaration of willingness to take a licence had only been made about a
       year after the plaintiff's first infringement notice of 20 December 2012. However, the
       failure of a party to take a necessary step in due time did not result in material preclusion;
       the step in question could in any case still be taken before the action was brought.
       Subsequently, no circumstances had come to light that would lead to the assumption
       that the defendant's or its group's willingness to take a licence had lapsed again in the
       meantime.


 47    The offers made by the plaintiff constituted evidential discrimination against the
       defendants. The plaintiff's licence offers treated the defendants unequally vis-à-vis one
       of its licensees, a Chinese state-owned enterprise, with regard to the amount of the
       licence fees without a valid factual reason.


       2.


 48    The appeal unsuccessfully challenges the Court of Appeal's affirmation of the plaintiff's
       status as an addressee under Article 102 TFEU.


       a)


 49    The plaintiff is dominant on the licence market relevant here. As the Senate explained
       in more detail in its judgement of 5 May 2020 between the parties (KZR 36/17, WRP 2020,
       1194, marginal no. 54 - FRAND-Einwand), the assumption of an independent licence
       market first requires a finding that the patent is essential to a standard, i.e. that the use



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       of the patented teaching is indispensable for the implementation of a standard
       (standardised by a standardisation organisation or enforced on the market) (FCJ,
       judgement of 13 July 2004 - KZR 40/02, BGHZ 160, 67, 74 - Standard-Spundfass; WRP 2020,
       1194, marginal no. 58 - FRAND-Einwand). July 2004 - KZR 40/02, BGHZ 160, 67, 74 -
       Standard-Spundfass; WRP 2020, 1194 marginal no. 58 - FRAND-Einwand), so that it is
       usually technically impossible to circumvent the invention without losing important
       functions for the product market (FCJ, WRP 2020, 1194 marginal no. 58 - FRAND-Einwand;
       cf. ECJ, judgement of 16 July 2015 - C-170/13, WRP 2015, 2783 para. 49 - Huawei/ZTE;
       European Commission, Decision of 29 April 2014 - C (2014) 2892 para. 52 - Motorola).
       Furthermore, a prerequisite for an independent licensing market is that the technical
       teaching corresponding to the patent and the standard cannot be substituted by another
       technical design of the product (FCJ, WRP 2020, 1194 marginal no. 58 - FRAND-Einwand;
       cf. ECJ, [2004] ECR I-5039 marginal no. 28 - IMS Health; BGHZ 160, 67, 74 - Standard-
       Spundfass).


       b)


 50    The Court of Appeal left unanswered whether the standard relevant here only provides
       for the implementation of the teaching of the patent in suit as an option and whether the
       use of only one radio carrier corresponds to the standard. However, it found that such a
       possibly existing non-patent option no longer plays a role in practice, which is why the
       use of the patent in suit is in any case factually unavoidable within the scope of the
       implementation of the requirements of the standard. This is sufficient for the
       assumption of an independent licence market, since a mobile device that does not
       implement the technical teaching of the patent in suit is not competitive according to it
       (see ECJ, judgement of 29 April 2004 - C-418/01, [2004] ECR I-5039 = WRP 2004, 717
       marginal no. 29 - IMS Health; FCJ, WRP 2020, 1194 marginal no. 59 f. - FRAND-Einwand).




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       c)


  51   The Court of Appeal did not fail to recognise that, despite the legal barrier to access in
       such a case, there may be exceptional reasons that can exclude market dominance by
       the proprietor of the standard-essential patent (FCJ, WRP 2020, 1194 marginal no. 61 et
       seq. - FRAND-Einwand). However, it was unable to find indications for this either in the
       parties' submissions or in the circumstances of the case; this stands up to review under
       the law of review (FCJ, WRP 2020, 1194, marginal no. 62 et seq. - FRAND-Einwand).


       3.


 52    However, the findings of the Court of Appeal do not justify the assumption that the
       plaintiff abused this dominant position.


       a)


 53    As the Senate explained in more detail in its judgement of 5 May 2020 (WRP 2020, 1194 -
       FRAND-Einwand) between the same parties, following the case law of the European
       Court of Justice (WRP 2015, 1080 para. 54 et seq. - Huawei/ZTE), a dominant patent holder
       that has committed itself to a standardisation organisation to grant licences on FRAND
       terms cannot only abuse its market power by refusing to conclude a corresponding
       licence agreement with an infringer willing to grant a licence and by bringing an action
       against it for injunctive relief, recall and removal of products from the distribution
       channels or for destruction of patent-infringing products. Rather, an abuse may also be
       present if the patent proprietor is to be blamed for not having made sufficient efforts to
       fulfil its special responsibility associated with the market-dominating position and to
       make it possible for an infringer who is in principle willing to take a licence to conclude
       a licence agreement on reasonable terms (FCJ, WRP 2020, 1194 marginal no. 75 et seq. -
       FRAND-Einwand; cf. FCJ, order of 11 December 2012 - KVR 7/12, WuW/E DE-R 3821
       marginal no. 15 - Fährhafen Puttgarden II).




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 54    In both cases, the action is abusive because - and only because - the infringer willing to
       take a licence has a claim that the patent proprietor contractually allows him to use the
       protected technical teaching on FRAND terms. An abuse of the dominant position of a
       patent proprietor does not, in principle, result from contractual terms offered by the
       patent proprietor before or at the beginning of negotiations as such, which, if
       contractually agreed, could unfairly hinder or discriminate against the licensee. Rather,
       the abuse of market power follows - not unlike in cases of refusal to supply or refusal of
       access to an infrastructure facility of the market dominator - only from the refusal of a
       requested access to the invention per se or from unreasonable conditions for a requested
       access from which the patent proprietor is not prepared to deviate even at the end of
       negotiations (cf. FCJ, decision of 24 September 2002, KVR 15/01, BGHZ 152, 84, 94 -
       Fährhafen Puttgarden I), i.e. the refusal to offer the licensee seeking the conclusion of a
       licence agreement on FRAND terms, as a result of a negotiation process, those fair,
       reasonable and non-discriminatory contractual terms and conditions which the licensee
       can claim and on which he, for his part, is prepared to conclude with the patent
       proprietor.


       b)


 55    It follows from the obligation to refrain from such misuse and the special responsibility
       of the dominant patentee that they must first point out the infringement of the patent-
       in-suit to the infringer if the latter is (possibly) not aware of making unlawful use of the
       teaching of the standard-essential patent by implementing a technical solution required
       by the standard (ECJ, WRP 2015, 1080, nos. 60-62 - Huawei/ZTE; FCJ, WRP 2020, 1194, no.
       73 f. - FRAND-Einwand).


       c)


 56    Since the FRAND commitment does not in principle change the fact that anyone who
       wishes to make use of the technical teaching of a patent must obtain a licence from the




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       patent proprietor to do so (ECJ, WRP 2015, 1080 para. 58 - Huawei/ZTE), further obligations
       of conduct on the part of the dominant patent proprietor can only arise if and when the
       user of the protected technical teaching expresses his intention to conclude a licence
       agreement on FRAND terms (ECJ, WRP 2015, 1080, para. 63 - Huawei/ZTE).


       aa)


 57    For this purpose, it is generally not sufficient if the infringer, in response to the
       infringement notice, merely shows willingness to consider the conclusion of a licence
       agreement or to enter into negotiations as to whether and under what conditions a
       conclusion of an agreement would be possible for him. Rather, the infringer, for its part,
       must clearly and unambiguously declare its willingness to conclude a licence agreement
       with the patent proprietor on reasonable and non-discriminatory terms, and must also
       subsequently participate in the licence negotiations in a targeted manner (FCJ, WRP
       2020, 1194 marginal no. 83 - FRAND-Einwand).


       (1)


 58    Not unlike in cases of negotiated access to an infrastructure facility, only the willingness
       of the user of the invention to place the access to the protected technical solution, which
       they have already obtained on their own authority through the patent infringement, on
       a licensing contractual basis for the future can justify the requirement for the dominant
       patent proprietor to make an offer to the user in this respect, explain this offer in a
       manner and level of detail appropriate to the circumstances of the case, and engage in a
       negotiation on this offer and, if appropriate, a counter-offer by the infringer, in order to
       arrive at a licence agreement governing the use of the infringed and, if applicable, further
       patents on fair, reasonable and non-discriminatory terms. Such cooperation is the
       indispensable counterpart to requiring the patentee to accept infringement of the patent
       in suit for as long as the infringer, for his part, makes such efforts as are required and
       possible and reasonable in the given factual situation to conclude a licence agreement




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       on FRAND terms in order to be able to continue to use the patented teaching on that basis
       (see High Court of England and Wales [J. Birss], judgement of 5 April 2017, [2017] EWHC
       711 [Pat] para 562).


       (2)


 59    The (mutual) willingness to grant/take a licence is not only of fundamental importance
       because the patent proprietor must only grant a FRAND licence to a user of the invention
       who is willing to do so and can only grant such a licence at all. It is also indispensable
       because an appropriate outcome that balances the conflicting interests of both parties
       can usually only be achieved as the result of a negotiation process in which these
       interests are articulated and discussed in order to achieve a fair and appropriate balance
       of interests desired by both parties. The requirements for the conduct of the patent
       proprietor and the conduct of the user of the invention are mutually dependent. Since
       the standard of review is what a reasonable party interested in the successful conclusion
       of the negotiations in a manner that is in the interests of both parties would do to promote
       this objective at a certain stage of the negotiations, the individual requirements to be met
       cannot be defined in general terms.


 60    If one party initially fails to cooperate as required in the conclusion of a licence
       agreement on FRAND terms, this is generally to its detriment. Depending on the
       circumstances, the party may be obliged to compensate for the omissions as far as
       possible. This corresponds to the usual practices of persons interested in concluding a
       contract, who, in the event of a delayed reaction to a corresponding offer to negotiate,
       must normally expect that the other party is no longer interested in concluding a
       contract.


  61   In the case of a standard-essential patent, lower requirements do not result from the fact
       that the patent proprietor, who has submitted a declaration of willingness to take a
       licence, has only limited leverage to enforce the IP right, if necessary by taking legal




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       action (FCJ, WRP 2020, 1194 marginal no. 64 - FRAND-Einwand) and is dependent on
       concluding licence agreements for the economic exploitation of his patent. On the
       contrary, the patent infringer may not exploit this structural disadvantage for the
       purpose of "patent hold-out" (cf. FCJ, WRP 2020, 1194 marginal no. 64 - FRAND-Einwand)
       without exposing himself to the accusation of dishonest conduct. Otherwise, the
       restriction of the enforceability of the patent by legal action for the purpose of avoiding
       an abuse of market power would lead to another distortion of the conditions of
       competition in that the patent infringer could obtain an unjustified advantage over those
       competitors who have to seek a licence in due time and therefore pay the appropriate
       remuneration for the use of standard-essential patents.


       (3)


 62    If the user who has been made aware of the infringement has failed over a longer period
       of time to express its interest in a licence agreement on FRAND terms, the user must
       therefore be expected to make additional efforts to help ensure that, notwithstanding this
       failure, a corresponding licence agreement can be concluded as soon as possible.


       bb)


 63    Contrary to the defendant's view, these requirements regarding the patent infringer's
       willingness to take a licence are in line with Article 102 TFEU and its interpretation in
       the case law of the Union Court of Justice (WRP 2015, 1080 marginal no. 71 - Huawei/ZTE);
       they also do not require resubmission.


       (1)


 64    As the Court of Justice has held, the patent proprietor who has made a FRAND
       declaration does not in principle abuse its dominant position by bringing an action for
       an injunction or for the recall of infringing products if, before bringing the action, it has
       given the infringement notice required, has made a specific offer to the infringer - after



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       the latter has in turn expressed his intention to conclude a licence agreement on FRAND
       terms, has made a specific offer of a licence on FRAND terms to the infringer, indicating
       in particular the licence fee and the way in which it is to be calculated, and the infringer,
       although continuing to use the protected technical teaching, does not respond to that
       offer with diligence, in accordance with accepted commercial practices and in good faith,
       which in particular prohibits him from using delaying tactics in his response (ECJ, WRP
       2015, 1080 para. 71 - Huawei/ZTE). Furthermore, the Court of Justice has considered the
       infringer to be obliged to ensure the realisability of the patent proprietor's claims under
       the licence agreement to be concluded by providing adequate security from the time
       when the patent proprietor has rejected a counter-offer made by him (ECJ, WRP 2015,
       1080 para. 67Huawei/ZTE).


       (2)


 65    The Court of Justice of the European Union thus emphasises the mutual obligation to
       engage in constructive exchanges aimed at achieving a fair balance of the interests
       involved (ECJ, WRP 2015, 1080, para. 55 - Huawei/ZTE; cf. BGHZ 152, 84, 97 - Fährhafen
       Puttgarden I). Due account must be taken of the particular legal and factual
       circumstances of the specific case (ECJ, WRP 2015, 1080 marginal no. 56 Huawei/ZTE).
       This means that compliance with the "negotiation programme" outlined by the EU Court
       is regularly sufficient to exclude a breach of the prohibition of abuse and thus the plea of
       bringing an abusive action. Accordingly, the Court's answer to the questions referred for
       a preliminary ruling negatively defines the requirements for denying an abuse of market
       power. However, since the affirmation or denial of an abuse always requires a
       consideration of all circumstances of the case and a weighing of the mutual interests,
       special circumstances may also justify stricter or less strict duties of conduct (cf. High
       Court of England and Wales [J. Birss], Judgement of 5 April 2017, [2017] EWHC 711 [Pat]
       para 744; UK Supreme Court [Lords Reed, Hodge, Lady Black, Lords Briggs, Sales],
       Judgement of 26 August 2020, [2020] UKSC 37 para 152 et seq; Gerechtshof Den Haag,




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       GRUR Int. 2020, 174, 176 para 4.14). In this respect, the examination of a FRAND-Einwand
       is no different from other cases of abuse of a dominant position.


       (3)


 66    Without success, the defendants argue that the fact that the EU Court of Justice requires
       a concrete written licence offer by the patent proprietor after the infringer has expressed
       its will to conclude a licence agreement on FRAND terms (WRP 2015, 1080, para. 71 -
       Huawei/ZTE, emphasis by the Senate) precludes an understanding of the obligation to
       declare willingness to take a licence as a kind of permanent condition or continuing act.
       This loses sight of the fact that the abuse of market power in cases of the kind at hand
       results from the dominant undertaking's refusal to fulfil the claim of an undertaking
       from the opposite side of the market for lawful access to the invention and to grant a
       licence on FRAND terms for this purpose (ECJ, WRP 2015, 1080 para. 53 - Huawei/ZTE). It
       is the abusive character of this refusal that can be held against the actionable claim
       under the patent (ECJ, WRP 2015, 1080 para. 54 - Huawei/ZTE). An abusive refusal by the
       dominant patent proprietor necessarily presupposes a continuing demand by the
       infringer for the conclusion of a contract on FRAND terms and its willingness to
       cooperate in the conclusion of such a contract, without which a "refusal" by the patent
       proprietor would be futile.


 67    For this willingness to take a licence, it is not sufficient that a serious and final refusal of
       the patent infringer to conclude a use agreement on FRAND terms cannot be established.
       This ignores the principle, also emphasised by the European Court of Justice, that the
       party wishing to make use of the technical teaching must obtain a licence to do so (ECJ,
       WRP 2015, 1080, para. 58 - Huawei/ZTE). However, the patent infringer has already
       obtained access to the use of the invention, for which it owes an appropriate fee, on his
       own authority and thus - at least initially - free of charge, so that delaying the resolution
       of the conflict of interest by concluding a contract obliging him to pay consideration,
       unlike in the case of claims for supply or access to an infrastructure facility, does not



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       favour the market dominator but the market opponent. The "delaying tactic", which the
       infringer may not engage in and which, as the European Court of Justice has expressly
       stated (WRP 2015, 1080, para. 71 - Huawei/ZTE), excludes an abuse of the dominant
       position, therefore typically consists precisely in not simply rejecting a licence
       agreement on FRAND terms, but in ostensibly seeking it, but pushing back the finding of
       an appropriate solution in detail or at least postponing it as long as possible.


       (4)


 68    Contrary to the defendant's view, the declaration of willingness to take a licence is thus
       not a "mere gateway" for the start of the actual negotiations, even according to the case
       law of the European Court of Justice. Rather, the continued willingness to take a licence
       is an indispensable prerequisite for successful licensing negotiations and thus also for
       the accusation of abuse of market power against the patent proprietor in the event of
       their failure. This is also clear from the context of the Huawei/ZTE decision. The
       guidelines formulated by the Union Court are based on a proposal by Advocate General
       Wathelet. This was based on the assumption that an abuse can only be considered
       against a patent infringer who is objectively ready, willing and able to enter into a FRAND
       licence agreement (see Opinion of Advocate General Wathelet of 2 - C-170/13, juris paras.
       74-75, 80). The Advocate General did not consider a mere willingness to negotiate, which
       was considered sufficient by ZTE following a press release of the European Commission
       of 21 December 2012 (IP/12/1448), nor did he necessarily require an unconditional offer to
       conclude a licence agreement within the meaning of the Senate's Orange-Book decision
       (Judgement of 6 May 2009 - KZR 39/06, juris para. KZR 39/06, BGHZ 180, 312 marginal no.
       29) (see Opinion of Advocate General Wathelet of 20 November 2014 - C-170/13, juris fn.
       19). Incidentally, this is also in line with the Commission's view in a decision preceding
       the decision of the Court of Justice of the Union, in which the Commission expresses
       that the patent proprietor may seek and enforce an injunction against a potential
       licensee if the latter is unwilling to enter into a FRAND agreement (decision of 29 April
       2014, COM[2014]2892 final, para. 427 [c]). Such an objective willingness to conclude a


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       FRAND licence agreement is regularly demonstrated, according to the business practices
       recognised in all areas of economic life and also emphasised by the European Court of
       Justice as decisive, by the active promotion of negotiations oriented towards the
       common goal of a successful conclusion. The negotiation steps of parties interested in
       concluding a contract build on each other. A duty to promote therefore always exists if
       and insofar as the next negotiation step is to be expected according to business practice
       and the principles of good faith (cf. on section 203 BGB in case of "falling asleep" of the
       negotiations: FCJ, judgement of 8 November 2016 - VI ZR 594/15, NJW 2017, 949 marginal
       no. 16 mwN).


       cc)


 69    A willingness to take a licence understood in this way is not dispensable, but retains its
       meaning even if the patent proprietor has submitted a licence offer to the infringer (cf.
       Kühnen, Hdb. Patentverletzung, 13th ed., chap. E marginal no. 394 et seqq.; Landgericht
       Düsseldorf, order - 4c O 17/19, juris marginal no. 37).


       (1)


 70    The offer by which the patent proprietor fulfils its special responsibility as a market
       dominator to make it possible for the user of the invention to conclude a licence
       agreement on FRAND terms is not the end point but the starting point of the licence
       negotiations. At least in a complex situation, as is typically the case in the licensing of
       standard-essential patents, it is regularly not obvious which contractual terms in the
       specific case (cf. Gerechtshof Den Haag, GRUR Int. 2020, 174, 179 para. 4.34) meet the
       requirements of an appropriate balance of interests and at the same time do not violate
       the prohibition of discrimination under antitrust law. Moreover, as a rule there is not one
       licence agreement that satisfies FRAND conditions, but a range of possible reasonable
       solutions (cf. High Court of England and Wales [J. Birss], Judgement of 23 October 2018,
       [2018] EWCA Civ 2344, GRUR Int. 2019, 357 para. 121; OLG Karlsruhe, GRUR 2020, 166 para.




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       95; cf. on Section 19 (4) no. 4 GWB aF BGHZ 152, 84, 96 - Fährhafen Puttgarden I). As a rule,
       the patentee can only take into account any legitimate interests of the user once it is
       aware of them.


  71   It is therefore precisely the purpose of the negotiations to produce a fair and reasonable
       final result and, to this end, to articulate the interests of both parties and to put forward
       for discussion factual and legal aspects which, from the point of view of at least one party
       to the negotiations, may be relevant to this result (cf. Communication from the European
       Commission of 29 November 2017 on the EU's handling of standard-essential patents,
       COM[2017] 712 final, p. 7). It is therefore incumbent on the user of the invention to check
       the patent proprietor's offer to see whether its content requires further information from
       the patent proprietor and whether and, if so, to what extent the structure of the offer or
       individual provisions thereof, in particular the IP rights to be covered by the agreement
       and the amount and method of calculating the licence fee, (possibly) do not comply with
       FRAND conditions from his point of view. If necessary, the user is obliged to make a
       counteroffer; however, when this is the case also depends on the individual case and is
       also governed in this respect by customary and recognised business practices and the
       principles of good faith. In particular, in the case of a licence offer by the patent proprietor
       which obviously does not comply with FRAND conditions and which, when assessed
       objectively, is not meant seriously and thus appears as a refusal to conclude a licence
       agreement on FRAND conditions (see BGHZ 152, 84, 92 - Fährhafen Puttgarden I), it may
       suffice as a reaction of a user of the invention who seriously seeks a licence to explain
       why the offer obviously does not comply with FRAND conditions. The decisive factor is
       which reaction the user of the invention may assume can properly promote the
       conclusion of a licence agreement on FRAND terms - provided that the patent proprietor
       is willing to do so.




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       (2)


 72    If the patent proprietor has made a (at least essentially complete) contractual offer to the
       user of the invention despite the latter's unwillingness to take a licence the invention,
       the user must therefore deal with this offer in such a way that it becomes apparent that
       the user is now pursuing the goal of reaching a mutually equitable result as soon as
       possible. For this purpose, it is not important whether and to what extent the content of
       the patent proprietor's contractual offer already complies in every respect with the
       requirements of the contract to be concluded for fair, reasonable and non-discriminatory
       conditions of use of the contractual property rights.


       (a)


 73    If the patent proprietor were obliged to always immediately submit an offer that
       anticipates the appropriate and mutually beneficial outcome of licensing negotiations,
       there would be no need for negotiations and no counter-offer from the user who does not
       want to accept the patent proprietor's offer.


       (b)


 74    Even more important is the consideration that the content of a complex licence
       agreement cannot be reviewed, either outside of court proceedings or in court
       proceedings, in the abstract, as it were, to determine whether all contractual terms and
       conditions meet the requirements for a fair, reasonable and non-discriminatory
       structuring of the use of the contractual property rights. Rather, this can regularly only
       be assessed if the party that does not want to accept a contractual term proposed by the
       other party, or at least does not want to accept it without further ado, asserts those
       aspects that, from the point of view of this party, speak against the appropriateness of
       the contractual term or make this appropriateness appear at least doubtful, and if the
       other party then either takes these concerns into account by amending or
       supplementing its proposal or explains why, from its point of view, the concerns do not


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       prevail (cf. BGHZ 152, 84, 97 - Fährhafen Puttgarden I). It is obvious that arguments and
       counter-arguments are determined by the conflicting interests of the parties, one of
       which wants to obtain the highest possible remuneration for the use of the contractual
       rights and the other wants to pay the lowest possible remuneration for this. Precisely for
       this reason, however, a negotiation process is required, at the end of which an appropriate
       balance of interests is sought by both sides. Even if the parties' efforts to find an amicable
       solution ultimately fail, they can, since they provide indications as to which interests are
       to be taken into account in detail and how they are to be weighted, form the basis of a
       court decision, if necessary, as to the extent to which the conflicting views expressed on
       the individual points in dispute are compatible with the requirement of licensing on
       FRAND terms (see BGHZ 152, 84, 97 - Fährhafen Puttgarden I).


       (c)


 75    Since regularly only the efforts of both parties to find a fair balance of interests can lead
       to a contract with FRAND conditions, especially in cases in which - at least until then -
       there is no willingness to take a licence on the part of the patent proprietor, the will and
       the declared willingness of the infringer to reach and contribute to a fair and reasonable
       conflict resolution are not dispensable. The consideration that the patent proprietor is
       "not in need of protection" because it is readily possible for him to submit a FRAND-
       compliant licence offer, which only - if it is indeed fair, reasonable and non-
       discriminatory - triggers further obligations of conduct on the part of the infringer
       (according to Kühnen, Hdb. Patentverletzung, chap. E marginal no. 396), already fails
       because of this dependence of the FRAND-compliance of a certain contract content on
       the outcome of the negotiation process.


 76    Moreover, it again fails to recognise that even an offer that does not comply with FRAND
       conditions does not in itself constitute an abuse of the patent proprietor's dominant
       position, which rather lies in refusing or making it impossible for the infringer to
       negotiate and conclude a FRAND licence agreement that is in line with the interests



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       articulated in the negotiation process (and instead to enforce the patent or one of the
       patents to be licensed by taking legal action).


       dd)


 77    These requirements are also in line with Union law, as interpreted by the Court of Justice
       in Huawei v ZTE, and do not require resubmission. Accordingly, it is incumbent on the
       infringer to respond to the patent proprietor's offer with diligence, in accordance with
       accepted commercial practices in the field and in good faith, which must be determined
       on the basis of objective factors and implies, inter alia, that delaying tactics are not being
       pursued (ECJ, WRP 2015, 1080, para. 65 - Huawei/ZTE). The assessment of whether a
       delaying tactic is being pursued, which is to be made on the basis of objective aspects, is
       thus also to be made on the basis of the infringer's reaction to the offer, and is thus not
       limited to the declaration of the wish to license. This is also appropriate. The declaration
       of a wish to license or of a willingness to negotiate does not say anything about whether
       this declaration is meant seriously. Rather, it may also be the result of a delaying tactic
       by the patent user (see Federal Court of Justice, WRP 2020, 1194 marginal no. 82 - FRAND-
       Einwand), which may not be accepted in order to protect the patent proprietor and the
       competition between the patent users. Therefore, according to the case law of the
       European Court of Justice, the further conduct of the infringer must also be taken into
       account. Accordingly, delaying tactics can be considered in particular - but not
       exclusively - if the patent user does not react to the patent proprietor's explanations
       within a reasonable period of time, in particular if the user rejects the patent proprietor's
       offer but nevertheless fails (although this can be expected according to the concrete
       circumstances of the individual case in accordance with customary practice and the
       requirements of good faith, cf. para. 71) to make a concrete counter-offer in writing within
       a short period of time that complies with FRAND conditions. This is the reason why - as
       the EU Court of Justice has expressly stated - the infringer cannot rely in this case on the
       abusive nature of an action for an injunction or a recall (ECJ, WRP 2015, 1080 para. 66 -
       Huawei/ZTE) and that the same applies if the infringer continues to use the patent


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       despite the rejection of its counter-offer, but fails to provide adequate security in
       accordance with accepted practice in the relevant field (ECJ, WRP 2015, 1080, para. 67 -
       Huawei/ZTE).


 78    In which further circumstances not mentioned by the European Court of Justice a lack
       of willingness to take a licence on the part of the patent infringer exists is a question of
       the individual case, the assessment of which is incumbent on the national courts (see
       ECJ, Judgement of 20 May 2010 - C -160/09, [2010] ECR I-4591, para. 24 - Ioannis
       Katsivardas/Nikolaos Tsitsikas; ECJ, WRP 2015, 1080 para. 70 - Huawei/ZTE; Opinion of
       Advocate General Wathelet of 20 November 2014 C-170/13, juris para. 76; UK Supreme
       Court, Judgement of 26 August 2020, [2020] UKSC 37 para. 157) and is in principle the task
       of the trial judge.


       ee)


 79    Whether the patent proprietor's action for injunction, recall or destruction is abusive
       according to these standards may have to be assessed differently for different points in
       time.


       (1)


 80    Whether the filing of an action constitutes an abuse of the dominant position of the
       patent proprietor because it serves to enforce a refusal to grant a licence against an
       undertaking willing to grant a licence is to be assessed according to the actual
       circumstances at the time the action is filed. If the infringer's willingness to take a
       licence is already lacking at this point in time, the concrete conditions offered by the
       patent proprietor for a licence agreement at this point in time are irrelevant.




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       (2)


  81   If the filing of the action is not abusive, the further prosecution of the claims and thus
       also the defence of a first instance judgement already obtained - as in the case in dispute
       - against the infringer's appeal may nevertheless be abusive.


 82    The claim of the user of the technical teaching of the invention against the dominant
       patent proprietor for licensing on FRAND terms remains - up to the limit of forfeiture -
       even if the user does not initially assert it because he is not prepared to conclude a
       licence agreement on FRAND terms. He can therefore in principle also assert it
       subsequently.


 83    This does not necessarily mean, however, that the infringer can also plead this licensing
       claim against the injunctive relief already asserted by way of action or already granted
       in the first instance. Rather, it is decisive whether the patent proprietor is acting
       abusively with regard to the subsequently declared willingness to take a licence by
       pursuing the claims in suit. This requires careful examination in each individual case.
       The longer the infringer initially waited before asserting his licensing claim, the higher
       the demands on his cooperation in bringing about a licence agreement on FRAND terms,
       as explained above (para. 60).


       d)


 84    Accordingly, the Court of Appeal did not err in law in assuming that the plaintiff was not
       charged with abuse of its dominant position because it had not sufficiently informed the
       defendants about the infringement of the patent in suit and its willingness to take a
       licence it on FRAND terms. As the Senate explained in more detail in its judgement of 5
       May 2020, the letter of 20 December 2012 and two further letters from 2013 satisfied the
       requirements to be met by an infringement notice (FCJ, WRP 2020, 1194 marginal no. 86
       et seq. - FRAND-Einwand).




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       e)


 85    On the other hand, the Court of Appeal's assumption that the plaintiff abused its
       dominant position because it did not offer the defendants or their parent companies
       (hereinafter also: Haier) a licence agreement on FRAND terms despite having previously
       declared its willingness to take a licence, and that the contractual terms offered to Haier
       were discriminatory, does not stand up to review by the Court of Appeal.


       aa)


 86    The findings of the Court of Appeal do not justify the assumption that Haier agreed to
       conclude a licence agreement on FRAND terms.


       (1)


 87    The Court of Appeal correctly saw that the email of 17 December 2013 (AR 41 p. 3/4), i.e.
       almost a year after the first infringement notice, did not meet the requirements of an
       infringer willing to take out a licence in terms of time. An infringer who remains silent
       for several months in response to the infringement notice thus regularly indicates that
       he is not interested in taking a licence (FCJ, WRP 2020, 1194 marginal no. 92 - FRAND-
       Einwand). The defendants argue unsuccessfully that the decision of the European Court
       of Justice does not contain any clear provisions on the time requirements for the
       exchange of the mutual declarations. This is because the infringer's reaction to the
       patent proprietor's offer must be made with the diligence required by the accepted
       commercial practices in the relevant field and in accordance with the requirements of
       good faith (ECJ, WRP 2015, 1080, para. 71 - Huawei/ZTE). Since the infringer's conduct
       must not be aimed at delaying the negotiations offered - and thus in particular their
       commencement - the same must apply to the reaction to the infringement notice - and
       thus the declaration of willingness to take a licence by the infringer (see Gerechtshof Den
       Haag, GRUR Int. 2020, 174, 176 para. 4.14).




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       (2)


 88    The appeal successfully challenges the Court of Appeal's assumption that the declaration
       of 17 December 2013 nevertheless constitutes a sufficient declaration of willingness to
       take a licence. As the Senate already stated in its judgement of 5 May 2020 (FCJ, WRP
       2020, 1194 marginal no. 94 et seq. - FRAND-Einwand), neither this statement nor the other
       statements of the defendant and its parent companies found by the Court of Appeal
       express the defendant's will and serious willingness to conclude a licence agreement.
       The Senate adheres to this after reconsideration.


 89    The letter merely expresses the hope that formal negotiations will be entered into and
       asks for information about a prospective discount. However, in view of the months of
       silence in response to the statement of willingness to take a licence, in the case of
       genuine willingness to take a licence it would have been expected that Haier would now
       indicate that it wanted to do everything possible to promote the negotiations. This
       required, as explained (paras. 60, 83), additional efforts to help ensure that,
       notwithstanding this failure, a licence agreement could be concluded as soon as possible.


 90    The rest of the letter also does not indicate Haier's intention to pursue a licensing claim
       and clarify fair, reasonable and non-discriminatory licensing terms. Rather, the hesitant
       - and thus delaying - behaviour is continued by pointing out that they will not find the
       time to examine the matter and make a decision before the New Year (AR 41 p. 3). In view
       of the upcoming turn of the year and the management's involvement with the annual
       reports and the plans for the new year, an initial review may not have been possible
       before the turn of the year. However, an initial referral was not in question. Haier had
       already been informed of the Applicant's willingness to take a licence, the use of the
       patent-in-suit and the "Wireless Patent Programme" by letters dated 20 December 2012,
       22 August 2013 and 11 November 2013. In view of this, the plaintiff could not, in the
       required objective view, understand Haier's reference to the upcoming turn of the year
       and the need for examination in the sense of a serious desire to license and a willingness



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       to promote negotiations on the content of a licence agreement. Against the background
       of Haier's previous conduct, it was in particular not recognisable to the plaintiff that an
       examination after the turn of the year was announced for other reasons than to further
       delay. According to the unchallenged findings of the Court of Appeal, the defendants
       have also not presented objective reasons why and why it should not have been possible
       or reasonable for Haier to clarify the use of the portfolio patents by its mobile devices
       earlier.


       (3)


  91   Without success, the defendants argue that in the context of the other correspondence
       between the parties it is remote to assume that they or their parent companies were
       unwilling to take a licence. The fact that Haier was already a licensee of various other
       licence pools of the plaintiff at the time does not change the fact that the plaintiff could
       not, according to the objective recipient's horizon, assume that Haier was willing to
       conclude a licence agreement on FRAND terms justifying the use of the technical
       teaching of the patent-in-suit. The fact that the plaintiff's licensing programme was in
       the market launch phase at that time is not relevant for the understanding of Haier's
       statements.


 92    The fact that on the same 17 December 2013 the plaintiff still replied to the email of
       Haier's IP Director inter alia that it could provide the latter with further information on
       an "early bird discount" after receiving a non-disclosure agreement (AR 41 p. 2), and that
       such information was subsequently exchanged, does not justify a different view.
       Similarly, the meeting of the parties on 17 February 2014, in which details of the licensing
       programme were discussed but which, according to the findings of the Court of Appeal,
       remained inconclusive, and the licence offer of the plaintiff of 29 August 2014 (AR-B 39)
       are not capable of justifying the conclusion that Haier was clearly and unambiguously
       prepared to conclude a licence agreement on FRAND terms. For in this respect, too, only
       an unspecified willingness to negotiate can be ascertained which, in view of the previous



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       history, from the plaintiff's point of view appeared to be an expression of delaying tactics
       on Haier's part. In the cover letter to the offer of 29 August 2014 (AR 50), the plaintiff
       complains that no substantial progress has been made since February of this year, and
       according to the findings of the Court of Appeal, the plaintiff's offer was rejected by Haier
       as early as 1 September 2014 without a counteroffer.


       (4)


 93    The Court of Appeal only examined the further letters of the IP director of the defendant's
       parent companies from the point of view of whether they gave reason to assume that the
       original willingness to take a licence had in the meantime lapsed again. The letter of 16
       January 2016 (AR 51 p. 8 f.) does not show a clear declaration of willingness to conclude
       a licence agreement on reasonable and non-discriminatory terms.


       (a)


 94    As the Court of Appeal correctly pointed out, this already follows from the fact that it
       included the statement that Haier would be prepared to take a FRAND licence and pay
       royalties if German courts finally found infringement and validity of the patent-in-suit
       and the further European patent 852 885 asserted in the dispute decided by the Senate's
       judgement of 5 May 2020.


 95    Such a conditional declaration of willingness to take a licence is insufficient (BGHZ 180,
       312 marginal no. 32 - Orange-Book-Standard; FCJ, WRP 2020, 1194 marginal no. 96
       FRAND-Einwand). Contrary to the defendant's view, there is also no need for further
       clarification by the EU Court of Justice in this respect. The Court of Justice has made it
       clear that the patent infringer remains free to challenge the validity of the patents to be
       licensed or to challenge or reserve the right to challenge their use, in addition to
       negotiating the grant of licences (ECJ, WRP 2015, 1080 para. 69 - Huawei/ZTE). However,
       this does not change the fact that the user of a patent, if he is not its proprietor, must in
       principle obtain a licence before any use (ECJ, WRP 2015, 1080 marginal no. 59 -


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       Huawei/ZTE), and acts at his own risk if he believes that he can waive this due to lack of
       validity or lack of infringement. A conditional willingness to take a licence cannot lead
       to an unconditional conclusion of a contract; however, the patent proprietor is only
       obliged to do so. This does not necessarily preclude the patent infringer from reserving
       the right in the licence agreement to challenge the use of the licence (see also Opinion
       of Advocate General Wathelet of 20 November 2014 - C-170/13 Opinion No. 5).


       (b)


 96    The lack of willingness to take a licence is also shown by the fact that the letter of 16
       January 2016 contains the request that the plaintiff specify in more detail how all patents
       in its portfolio are infringed. In light of the fact that the plaintiff had already named the
       patents belonging to the "Wireless Patent Portfolio" to Haier in a letter of 20 December
       2012, that Haier thus had more than three years to review the question of infringement
       and the use of the portfolio, and that the review had been announced, inter alia, in a letter
       of 17 December 2013, this justifies the conclusion, based on an overall assessment of all
       the circumstances, that Haier - and thus the defendants - continued not to be interested
       in reaching an agreement with the plaintiff.


 97    It is true that if the patent proprietor does not want to license a single patent but a
       portfolio, he must provide the infringer with sufficient information on the patents
       belonging to the portfolio. However, this obligation does not go beyond what the owner
       of a portfolio of standard-essential patents must reasonably present in contractual
       negotiations on a portfolio licence, if a licence is sought from him with which a company
       wants to put the use of those IP rights it needs for the implementation of a standard on a
       secure legal basis. Similar to the infringement notice, it is sufficient to set out the nature
       of the respective standard-relevant functions and their implementation. Detailed
       technical or legal explanations of the individual patents are not required; the user of the
       invention only needs to be enabled - if necessary with expert assistance - to get an idea
       of the significance and scope of the patent portfolio in relation to the standard. Further



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       explanations are not required for this purpose because the patent proprietor does not
       have to assume, at least without concrete indications to this effect, that the licensee
       intends to impose restrictions on the future use of the functionalities covered and made
       possible by the standard. In the event of ambiguities in this respect or in other respects,
       honest negotiating partners can be expected to enter into a discussion (see FCJ, WRP
       2020, 1194 marginal no. 98 - FRAND-Einwand).


 98    Insofar as the parties unanimously stated in the oral proceedings before the Higher
       Regional Court on 17 November 2016 that it is customary in the industry for the patent
       proprietor to submit a list of the 10 to 15 most important IP rights ("Proud List") at the
       beginning of the negotiations, this does not change the obligation of the company willing
       to take a licence to form its own picture of the standard essentiality of the IP rights in the
       portfolio and of the extent to which it is dependent on the use of the portfolio for the
       lawful production of standard-compatible products. The fact that the submission of a
       "Proud List" is not mandatory already follows from the fact that it typically covers only a
       small fraction of the patents and therefore does not enable the infringer to conduct a
       comprehensive examination of the portfolio.


 99    The plaintiff had already fulfilled its obligation with a letter dated 20 December 2012. It
       had enclosed a list of about 235 patents belonging to the patent portfolio. In view of
       Haier's announcement in the letter of 17 December 2013 that it would examine the
       patents, the plaintiff was entitled to assume that Haier was at least carrying out a
       superficial examination of the patent objects and the standard essentiality. As can be
       seen from plaintiff’s letter of 15 February 2013 (AR 41 p. 9), this was also communicated
       to the plaintiff again by Haier's IP director in a telephone call on the same day. Haier
       informed the plaintiff by email of 19 February 2013 that the analysis was taking time
       because of the large number of patents ("Involved large number of patents, still analysing,
       thanks"). The fact that Haier later insisted on the formal position that the plaintiff was
       obliged to submit "claim charts" with respect to all patents, despite the plaintiff granting
       a sufficient period of time for examination, indicated that Haier was still less interested


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       in a successful conclusion of the negotiations than in further delaying them, especially
       in light of the fact that Haier had initially not responded to the infringement notice and
       the offer of a portfolio licence (FCJ, WRP 2020, 1194 para. 98 - FRAND-Einwand), especially
       as the plaintiff had also referred Haier by letter of 11 December 2015 (AS 9) to its internet
       pages with information on which technical specifications of the standards mentioned
       there (indicating the respective sections) were covered by the patent families of the
       plaintiff's portfolio.


       (5)


 100   Insofar as the Court of Appeal inferred from the letter of 23 March 2016 (K 51 p. 2 f.)
       submitted during the appeal proceedings that Haier was (still) willing to take a licence,
       this does not follow from the content of the letter. Although the letter states that Haier is
       willing to take out a FRAND licence, it also points out that Haier's own position remains
       unchanged ("To make a long story short, we wish to express that our position remains
       unchanged, namely that we are willing to conclude a FRAND licence and we are of the
       opinion that our offer is FRAND"; Annex AR 51 p. 3). 3). From the plaintiff's objective point
       of view, this could only be understood as meaning that the inadmissible condition
       expressed in the letter of 16 January 2016 was to remain.


 101   Contrary to the Respondent's view, this understanding does not contradict the
       explanatory content of the letter in its entirety. In response to a letter from the plaintiff
       dated 17 March 2016 (AR 51 p. 3 f.), Haier asks the plaintiff not to constantly repeat the
       accusation of delaying negotiations; the information provided by the plaintiff with regard
       to the portfolio patents not asserted in the action was not sufficient. If the plaintiff
       provided claim charts showing at least that these patents could be standard essential,
       they could be taken into account in Haier's counter-offer. Furthermore, Haier points out
       that the plaintiff never explained the calculation of its proposed fee. While it is true that
       the letter does not expressly address the body of law and patent infringement. However,
       there is also no reason to assume that Haier no longer adheres to the clear statement in



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       the letter of 16 January 2016; this applies all the more as Haier had pointed out shortly
       before in a letter of 7 March 2016 that the question of infringement and the validity of the
       patent in suit had not yet been confirmed (AR 51 p. 4 ff.). Rather, the plaintiff had to infer
       from this that it would also receive additional information on the other patents in the
       portfolio, which Haier had in any case not justified with a lack of information, but only
       with an alleged obligation of the plaintiff according to the principles of the Huawei/ZTE
       judgement, would not help in the absence of a legally established infringement and legal
       validity, and Haier was not interested in the conclusion of a licence agreement, but only
       in bringing down the injunctive relief awarded by the District Court with alleged failures
       of a dominant company to offer a FRAND licence.


       (6)


 102   Nor did the intention to conclude a licence agreement on FRAND terms emerge from
       previous licence agreement offers made by the first defendant on 13 October 2014 (G 4)
       and by both defendants on 12 August 2015 (G 19, a few weeks before the date of the oral
       hearing before the District Court on 29 September 2015) and on 21 September 2015. It is
       not necessary to decide whether these offers in themselves met FRAND criteria. Because
       the will to seriously deal with the offers of the plaintiff, in particular its demand for a
       portfolio licence, cannot be inferred from these offers. The subject matter of the licence
       should only be the patent families to which the patent-in-suit and the patent-in-suit in
       the parallel proceedings belong. In view of the fact that Haier had had time to examine
       the plaintiff's "wireless standard" since receipt of the plaintiff's letter of 20 December 2012
       and had announced such an examination, inter alia, in its letter of 17 December 2013, the
       plaintiff was entitled to request a portfolio licence. December 2013, the plaintiff could at
       least expect the defendants to provide substantiated factual reasons why they believed
       they were entitled to the selective licensing of the very two patents-in-suit from which
       they were threatened with condemnation by the district court, and to deny that
       worldwide portfolio licence at which the plaintiff's efforts since December 2012 were
       aimed. Instead, as can be seen from the letter of 21 September 2015 (G 15), the defendants


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       continued to take the formal position that the plaintiff could not demand licensing of the
       entire, apparently arbitrarily compiled patent portfolio "Wireless Licensing Program"
       without first explaining for each patent how and why it should be infringed.


 103   Even if one were to regard the contractual offers as a declaration of willingness to take a
       licence, it would also have to be taken into account that Haier declared its willingness to
       take a licence only subject to a condition in its letter of 16 January 2016, so that any
       willingness to take a licence that had been expressed in the meantime would no longer
       have existed. Against this background, it is also irrelevant that a large number of further
       emails were exchanged between the parties in the period from November 2015 to April
       2016 alone. For these predominantly deal with Haier's or the defendant's demands for
       further specification of the patent infringement by the portfolio patents and the
       calculation of the licence fee by the plaintiff. For the reasons explained, it cannot be
       inferred from this correspondence that Haier was seriously willing to take a licence.


       bb)


 104   An abuse of the plaintiff's dominant position by pursuing the claims also does not arise
       with regard to the licence (counter)offer (G 46), which the defendants submitted through
       their legal representatives on 20 January 2017 - and thus four weeks before the
       conclusion of the oral hearing in the appeal proceedings on 16 February 2017.


       (1)


 105   According to the findings of the Court of Appeal, with this contractual offer, which they
       linked to a security deposit totalling €15,000, the defendants responded to a group and
       worldwide licence offer submitted by the plaintiff to Haier by letter of 20 December 2016
       (AR 63), which was preceded by an earlier offer of 9 December 2015 (AR 51 p. 14 f.), which
       Haier had rejected. The Court of Appeal assumed that with the counter-offer of 20
       January 2017 the defendants had confirmed their willingness to take a licence. It left




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       unanswered whether the offer contained FRAND conditions; this was irrelevant as the
       plaintiff's offer had been discriminatory.


       (2)


 106   This does not stand up to review by the court of appeal. Even if, as the Court of Appeal
       assumed, the plaintiff's offer treated Haier worse than another licensee of the plaintiff,
       in particular with regard to the amount and the calculation of the licence fees, without
       any objective justification, this did not yet result in an abuse of its dominant position.


       (a)


 107   Since neither the defendant's parent companies nor the defendant itself had by then
       expressed their willingness and shown the unconditional will to conclude a licence
       agreement with the plaintiff on FRAND terms, the plaintiff did not abuse its dominant
       position either by bringing the action or by defending the district court's judgement
       against the defendant's appeal. The licence conditions offered by it at that time are
       irrelevant for this, as explained (para. 56). A fortiori, the content of later contractual offers
       is irrelevant in this respect.


       (b)


 108   However, the established facts also do not support the assumption that, after the
       defendant's offer of 20 January 2017 submitted shortly before the end of the oral
       proceedings at second instance, the further pursuit of the claims for injunctive relief,
       destruction and recall awarded by the Regional Court proved to be abusive.


 109   Even with this contractual offer and the statements on this in the pleading of the same
       date and subsequent pleadings, the defendants did not express a serious willingness to
       take a licence. Against the background of a lack of willingness to conclude a licence
       agreement on FRAND terms, which had been shown for several years and also after the




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       conviction on the basis of the patent in suit by the District Court, it would have been
       necessary, as explained (paras. 60, 83), to make increased efforts to contribute to the
       achievement of an appropriate solution in good faith. Neither the contractual offer nor
       its explanation do justice to this.


       (aa)


 110   The defendant's contractual offer - formulated independently of the text last proposed
       by the plaintiff - does not provide for the defendant's parent companies or the Haier
       Group as licensees, but only the defendants themselves. According to Art. 4.2, royalties
       are only payable for products (manufactured or) marketed by the licensees in states
       where a licensed patent has been granted. Patent families designated as NKO-02 to NKO-
       45 are listed as licence protection rights. The royalty shall be calculated according to the
       formula R = A . B . C where A corresponds to a royalty rate of 0.012% for each patent family,
       B corresponds to the number of patent families and C corresponds to the net selling price
       of a licensed product, taking into account only patent families essential to the
       performance of the "wireless standards" defined in Art. 1.21. Art. 4.4 states "by way of
       clarification" that the licensees (only) consider patent families NKO-2, 3 (comprising the
       patent-in-suit of the proceedings KZR 36/17), 5 and 30 (comprising the patent-in-suit of
       the present proceedings) to be likely to be essential in this sense ("consider ... being likely
       to be essential" [sic!]).


 111   In their submission of 20 January 2017, the defendants essentially stated the following
       reasons:


 112   The court of appeal's view that there were no objections in principle to a group-wide and
       worldwide portfolio piece licence was to be contradicted. Since the plaintiff did not offer
       a group-wide licence, but rather belonged to a group whose companies marketed various
       licence programmes, it could not expect licensing by the Haier group. The customary




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       nature of group-wide licensing was disputed; in any case, the plaintiff could not rely on
       such a practice.


 113   Although the plaintiff had not submitted patent specifications and standard documents
       relating to the submitted "Proud List", they - the defendants - had argued that the
       plaintiff's portfolio contained 33 standard-essential patent families. "Claim charts had
       only been submitted for the 13 patent families of the plaintiff's Proud List (NKO-2, 3, 5, 11,
       12, 16, 18, 19, 30, 32, 35, 36 and 44). Of these, patent families NKO-3 and 30 (with the patent-
       in-suit) had been classified as potentially standard-essential in view of the Court of
       Appeal's observations, with arguments for a lack of standard essentiality in each case.
       The examination of a further eleven patent families had shown that only the families
       NKO-2 and 5 were possibly also standard essential; this is explained in more detail. A
       "Humble List" submitted by them - the defendants - also showed that the other patent
       families NKO-6, 8, 10, 13 and 26 were not standard essential.


 114   The defendants elaborated on this argument in written submissions dated 8 February
       2017 and 9 February 2017.


       (bb)


 115   This reaction and the reasons given for it do not, as the Senate can judge for itself
       according to the established content of the contractual offer and in view of the lack of
       assessment by the Court of Appeal, in any way represent a dispute with the plaintiff's
       offer or an offer of its own, which an infringer willing to take a licence could assume
       would thereby make a contribution to bringing about a licence agreement on FRAND
       terms appropriate to the situation and the time of submission.


       i.


 116   It is already sufficient for this that, notwithstanding the fact that the discussions had
       been held with the Haier group since December 2013 at the latest and that the plaintiff



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       was seeking a worldwide licensing of its patent portfolio, only the defendants were to be
       licensees. The listing of American, Chinese, Japanese and other non-European patents
       in the patent families therefore only had significance for the remote case that the
       defendant European sales companies of the Haier group supplied to these countries.


 117   From the objective point of view of a negotiating partner interested in concluding a
       contract, the plaintiff was also entitled to expect that the defendants at least gave factual
       reasons why they thought such selective licensing was in their interests. There is
       nothing established or discernible that the defendants could have a legitimate interest
       in a licence agreement that not only - which in the given factual situation is already
       remote - instead of a worldwide regulation for the Haier Group, which the plaintiff had
       been seeking in vain since December 2012, only covered the European distribution
       activity, but did not even include Haier as the manufacturer of the products merely
       distributed by the defendants, which was in any case jointly responsible for the delivery
       of the challenged products to the European Union.


 118   It can be left unanswered whether the defendants, as distributors alongside Haier, were
       entitled to their own licensing claim at all. In view of Haier's unwillingness to take a
       licence, they could in any case not reasonably claim a licence limited to their own
       activities, which for the plaintiff would be associated with the not remote danger of Haier
       circumventing its own distribution companies and possibly the necessity of costly
       enforcement of its property rights "patent by patent and land by land" (cf. UK Supreme
       Court [Lords Reed, Hodge, Lady Black, Lords Briggs, Sales], Judgement of 26 August 2020,
       [2020] UKSC 37 para. 166) and thus not only largely failed to achieve the worldwide
       portfolio licence sought by the plaintiff, but did not even reliably protect the plaintiff from
       further infringements of the patent-in-suit by Haier.


 119   The defendants could also not nevertheless assume that with the proposed contractual
       arrangement they were making the contribution required in view of the unwillingness to
       take a licence at that time to bring about a licence agreement on FRAND terms, which



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       the plaintiff would either have had to accept immediately as offered or which could have
       served as the basis for conclusive negotiations promising success in the short term.


 120   This is already clear from the fact that the defendants merely invoked the fact that the
       plaintiff does not actively license group-wide and that the customary nature of group-
       wide licensing is disputed as justification for the selective licensing sought.


 121   From the defendant's point of view, there was all the more reason to state reasons as the
       plaintiff had already rejected a licence offer made by both defendants in a letter of 24
       August 2015 (G 21), i.e. almost one and a half years earlier (also a few weeks before the
       oral proceedings before the Regional Court), referring to the use of the patent in suit by
       the entire Haier group, inter alia because the offer did not include the entire Haier
       group.among other reasons, because the offer did not cover the entire Haier group, and
       according to the defendants' legal representatives in the appeal (written statement of 3
       December 2015, p. 7, AS 398), they had recommended to the parent group in this context
       that it should also sign the licence agreement offer.


 122   In contrast, the fact that the plaintiff did not offer the defendants any other portfolios or
       portfolios of affiliated companies, but which the defendants had not even asked for,
       obviously could not plausibly make the return to the demand for selective licensing of
       the defendants.


 123   The denial of the customary nature of a group licence cannot be regarded as a
       constructive contribution of a bona fide negotiating party to the licence agreement
       negotiations either, against the background that the Haier Group had already concluded
       group licence agreements with the plaintiff (AR 77, 78; BU 9), as the defendants have
       referred to themselves.




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       ii.


 124   That the defendants have not expressed their willingness to compensate for the previous
       lack of willingness to take a licence with the licence offer is also apparent from the
       proposed royalty provision. Of the patent families included in the offer text, the latter
       only recognises four as "probably" standard-essential and thus relevant for the
       assessment of the royalty, whereby it must be assumed in favour of the defendants that
       they do not reserve the right to doubt the applicability of the royalty provision with regard
       to these patent families in the contractual offer.


 125   In this respect, it is not necessary to clarify whether, as the plaintiff believes and has
       explained in more detail in its response to the defendant's statement of 20 January 2017,
       all other patent families are also essential by default. Rather, it is decisive that the
       purpose of the negotiation process is to clarify, using the technical and patent law
       expertise available to the parties or, if necessary, which IP rights and families of IP rights
       are objectively required to be included in the agreement or are only expedient - from the
       point of view of both parties - because they are essential for the use of the standard or, in
       any case, are one of several technical possibilities for its implementation. This is all the
       more significant in the field of information and telecommunication technology, the
       greater the number of patents involved, since in order to avoid disproportionately high
       transaction costs, both for the standard essentiality and for the validity of the IP rights,
       assessments are typically required which take appropriate account of the necessary
       remaining uncertainties and are therefore made by reasonable negotiating parties where
       the effort and costs of further clarification would otherwise be manifestly
       disproportionate to the expected benefits (see UK Supreme Court, Judgement of 26
       August 2020, [2020] UKSC 37 para. 5).


 126   It can also be left unanswered whether a contractual offer of this content, had it been
       made by the defendants or Haier at an early stage of the talks, could have expressed the
       willingness to conclude a licence agreement on FRAND terms. This was because Haier



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       had not entered into a concrete discussion with the plaintiff about the appropriate scope
       of a licensing of the mobile devices manufactured by Haier and the appropriate
       remuneration for this. In view of this, a proposal "at the last minute", which - entirely in
       accordance with the proposed restriction of the taking of the licence to the defendants -
       resolved the questions not discussed almost entirely to the plaintiff's detriment, and at
       most left the plaintiff the future possibility of litigating further claims on this contractual
       basis if necessary, could no longer express the defendants' willingness to decisively
       promote the conclusion of a licence agreement on FRAND terms, which was necessary
       at that time at short notice. Rather, the plaintiff had to understand it as an attempt by the
       defendants to secure themselves with their own licence agreement offer, which they
       could not seriously expect to be accepted, against a confirmation of the first instance
       conviction by the Court of Appeal in the event that the latter would assume that, due to
       the fulfilment of the plaintiff's obligations, Haier or the defendants were obliged to submit
       a counter-offer to the plaintiff.


       III.


 127   The Court of Appeal's decision with regard to the claims for injunction, destruction and
       recall is also not correct for other reasons. The enforcement of these claims is not
       precluded by the objection of patent ambush, as the Court of Appeal rightly assumed.


       1.


 128   The Court of Appeal essentially stated in support of its decision: It could be assumed in
       favour of the defendant that the former proprietor should have disclosed the patent in
       suit in the standardisation process, but deliberately failed to do so. It could also be left
       unanswered whether the plaintiff had to accept responsibility for this conduct and
       whether the plaintiff's later FRAND declaration had been able to cure the legal
       infringement. The legal consequence of a "patent ambush" was merely a licensing
       obligation on the part of the IP right holder. A user was only entitled to a licence to a




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       patent that had not been disclosed intentionally if, in the case of the required disclosure,
       an alternative to the patented teaching of the asserted patent would have found its way
       into the standard. This could not be established with an overwhelming probability by the
       court of facts.


       2.


 129   The defendant's cross-appeal challenges this without success.


       a)


 130   It can be left unanswered whether and, if so, under which further conditions it can be
       objected to as abuse of a dominant position or for other reasons by an infringer if a
       company, which in the standardisation process has not disclosed a patent application
       relevant for the application of the standard in violation of the rules of the standardisation
       organisation, enforces a patent resulting from this application or claiming its priority.


       b)


 131   A defence claim or a claim for a licence, as the defendants would like to claim, was
       directed against the company charged with the "patent ambush" and, if applicable, its
       universal successor in title, and thus not against the plaintiff in the case in dispute.
       Outside the scope of application of succession protection under Section 15 (3) Patent Act,
       objections against the former patentee cannot be raised against the new patentee.
       Section 404 of the Civil Code does not apply in the context of patent assignment. This is
       because the right to, in and from the patent is an absolute right which knows no debtor
       (see RGZ 127, 197, 205; RC Mannheim, judgement of 27 February 2009 - 7 O 94/08, juris
       para. 106). It is true that § 413 BGB provides for the corresponding application of § 404
       BGB in the case of the transfer of other rights. However, § 404 BGB is superseded by § 15
       (3) Patent Act (Palandt/Grüneberg, BGB, 79th ed., § 413 marginal no. 2). Since the plaintiff's
       FRAND declaration of commitment ensures that the assertion of the patent in suit does



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       not lead to a restriction of competition that is no longer acceptable under the legal
       system, the plaintiff's further obligations do not arise from its special responsibility
       resulting from its dominant position in the market.


       c)


 132   Furthermore, "patent ambush" requires in any case that the decision-making process
       within the standardisation body has been distorted by the withholding of relevant
       information (cf. European Commission, WuW 2010, 719 para. 29). If a patent application
       relevant to the standard has not been disclosed, there must at least be indications that
       the standard would have been formulated differently if the patent plaintiff had not
       withheld this information. The Court of Appeal did not err in law in denying such
       indications.


 133   The cross-appeal complains unsuccessfully that the court of appeal wrongly considered
       the defendants to have a burden of proof in this respect. There is no reason to impose a
       secondary burden of proof on the plaintiff because the fact to be presented lies outside
       the scope of the defendants' perception. The assumption of a secondary burden of
       disclosure requires that the party making the allegation is unable or cannot reasonably
       be expected to provide more detailed information, whereas the party disputing the
       allegation is aware of all material facts and can reasonably be expected to provide more
       detailed information (FCJ, judgement of 4 December 2012 - VI ZR 378/11, DStR 2013, 702
       marginal no. 16). With regard to the events relevant here, however, both parties are
       outsiders.


       IV.


 134   The defendants are also obliged to pay damages to the plaintiff pursuant to Section 139
       (2) Patent Act and must provide the plaintiff with the necessary information, which
       includes the accounting awarded by the District Court, so that the plaintiff can quantify
       its claim for damages.


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       1.


 135   Without error of law, the Court of Appeal affirmed the fault in the form of negligence
       required for the claim for damages also for the period before the plaintiff's first
       infringement notice was received. As the Senate explained in more detail in its
       judgement of 5 May 2020 between the parties (KZR 36/17, WRP 2020, 1194, marginal no.
       109 - FRAND-Einwand), the obligation of the proprietor of a standard-essential patent to
       point out the infringement does not change the fact that it is, in principle, the infringer's
       responsibility to ensure, before commencing the manufacture or sale of a technical
       product, that it does not infringe the intellectual property rights of third parties.


       2.


 136   The limitation of the amount of the plaintiff's claim for damages to that which would
       result according to the standard of a licence analogy, as assumed by the Court of Appeal,
       could only be considered if the defendants could counter the plaintiff's claim for
       damages with their own claim for damages based on the non-fulfilment of a claim for
       the conclusion of a licence agreement on reasonable and non-discriminatory terms.
       Since such a claim can only arise if the infringer demands the conclusion of a licence
       agreement on FRAND terms from the patent proprietor (initially by expressing
       willingness to take a licence) and the patent proprietor fails to respond thereto in
       accordance with the obligations incumbent on it due to its dominant position (FCJ, WRP
       2020, 1194 marginal no. 111 - FRAND-Einwand), a limitation of the claim for damages in
       the dispute is completely ruled out. The defendants have not sufficiently indicated their
       willingness to conclude a contract on FRAND terms.


       V.


 137   There is no need to refer the matter to the European Court of Justice for clarification of
       the questions formulated by the defendants in their statement of 26 October 2020. As
       stated, the Senate's requirements regarding the infringer's willingness to take a licence


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       are in line with Article 102 TFEU and its interpretation in the case law of the Union Court
       of Justice (paras. 63 et seq., 77 et seq., 87). The questions raised in this context concern
       the balancing of interests in individual cases that is incumbent on the courts of the
       Member States (see only UK Supreme Court, Judgement of 26 August 2020, [2020] UKSC
       37 para. 152).


                                                   […]




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                             EXHIBIT C
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                                     Federal Court of Justice

                                              KZR 36/17

                                      Decision of 5 May 2020



                                               Ruling

        On appeal by the plaintiff, the judgment of the 15th Civil Senate of the Düsseldorf Higher
        Regional Court of 30 March 2017 is set aside, whilst rejecting the defendant's
        subsequent appeal on the point of costs, to the extent that the Court of Appeal found to
        the plaintiff's disadvantage and the judgment of the 4a Civil Chamber of the Düsseldorf
        Regional Court of 3 November 2015 is not ineffective on the basis of the parties'
        concurring declarations of lack of need for adjudication (injunctive relief). […]




                                              Grounds

        […]

        II.

   47   The conclusion of the Court of Appeal that the conviction of the defendants to be ordered
        to destroy and recall infringing products would nevertheless be unsuccessful because
        the defendants' objection to a compulsory license under antitrust law is currently applies
        and the claim for damages and information is therefore only justified to a limited extent,
        does not pass a review according to the law of appeals.

        (1)

   48   The Court of Appeal essentially stated in the grounds of its decision: The plaintiff has a
        market-dominating position on the market within the meaning of Article 102 TFEU. A
        mobile telephone without GPRS access is not competitive. The judicial enforcement of
        the aforementioned claims is an abuse of this dominating position in accordance with
        the principles established by the Court of Justice of the European Union in the
        Huawei/ZTE case. Although the plaintiff already fulfilled its duty of to notify prior to the
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        trial, he did not make the defendants a FRAND offer despite its declared and continued
        willingness to license prior to the trial.

   49   It is true that the declaration of the willingness to license was made only about one year
        after the plaintiff’s first notice of infringement. However, this was harmless. The failure
        of a party to take a necessary step in due time does not entail any material preclusion;
        the step in question can in any case be taken before the action is filed. Nor have any
        circumstances subsequently arisen which would give rise to the assumption that the
        willingness of the defendant or its parent company to license had ceased to exist in the
        meantime.

   50   The offers submitted by the plaintiff constitute evidence of discrimination against the
        defendant. The plaintiff treats the defendants with its license offers to one of its
        licensees, a state-owned Chinese company, unequally with regard to the amount of the
        license fees without a valid objective reason. In relation to the standard license
        agreement which the plaintiff publishes on its website, the license offers do not provide
        the defendants with a discount, neither for the past nor for the future. On the other hand,
        the third party license agreement provides for a discount compared to the standard
        license agreement, which leads to the fact that the defendants pay many times higher
        license fees for the past and for the future. The immensely high differences were not
        objectively justified either as quantity discounts customary in the industry or because of
        the influence of the Chinese authorities on the conclusion of the third license agreement.
        Further particularities such as the status of the third party licensee as a reference
        customer, the special distribution of risk in the lump sum license agreement as well as
        the deviating procedural situation with regard to the prospects of success in the
        enforcement of the patent in suit could not justify the high level of the granted discount,
        neither in itself nor in the required overall consideration. Nor could the plaintiff
        successfully rely on the fact that the defendants showed no interest in conducting a
        license agreement on the basis of lump-sum payments. There is not sufficient evidence
        that the defendants generally rejected lump-sum payments. In the absence of a FRAND
        offer by the plaintiff, the question of whether the defendant's counter-offers comply with
        FRAND conditions is not relevant.

   51   On the other hand, the enforceability of the claims for rendering information and
        accounts as well as compensation for damages remains unaffected on the merits.
        However, the amount of damages to be paid is limited to that which results from the
        application of the license analogy. As long as the license seeker fulfils his obligations,
        he/she only owes damages on the basis of a FRAND license fee. Therefore, the accounts
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        must also include only such data which are necessary for the determination of damages
        under that methodology. Information on costs and profit is not required for this purpose
        and the claim is currently unfounded in this respect as well.

        2.

   52   The appeal rightly challenges the assumption of the Court of Appeal that the applicant is
        guilty of abuse of a market-dominating position under Article 102 TFEU.

        a)

   53   Without success, however, the appeal challenges the affirmation of the plaintiff's norm
        addressee status under Article 102 TFEU by the Court of Appeal.

        aa)

   54   During the term of protection of the patent, the plaintiff held a market-dominating
        position derived from the patent.

        (1)

   55   The Court of Appeal correctly held that the market-dominating position within the
        meaning of Article 102 TFEU is the economic power of a company which enables it to
        prevent effective competition being maintained on the relevant market by affording it
        the power to behave to an appreciable extent independently of its competitors and
        customers (ECJ, judgment of 14 March 2002 in Case T-149/98, ECR I-143, paragraph 1).
        February 1978, Case 27/76 [1978] ECR 207, paragraphs 63/66 = NJW 1978, 2439, 2440 -
        United Brands v Commission; judgment of 19 April 2012 - C-549/10 P, WRP 2012, paragraph
        680. 38 - Tomra; FCJ, order of 16 January 2007 - KVR 12/06, BGHZ 170, 299 marginal 19 -
        National Geography II; judgment of 24 January 2017 - KZR 47/14, WRP 2017, 563 marginal
        25 - VBL equivalent II).

        (2)

   56   As the Court of Appeal has not disregarded, the market-dominating position of the
        plaintiff does not follow from the fact that, by virtue of the exclusive right conferred on
        it, he/she was able to exclude any third party from using the technical teaching of the
        patent in suit. The mere exclusive rights to which the owner of an intellectual property
        right is entitled cannot in create the market-dominating position (ECJ, judgment of 6


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        April 1995 - C-241/91, ECR 1995, 1-743 = EuZW 1995, 339 marginal no. 46 - Magill TV Guide;
        FCJ, judgment of 13 July 2004 - KZR 40/02, BGHZ 160, 67, 74 - Standard bung barrel).

        (3)

   57   A market-dominating position generally results from the combination of several factors,
        each of which need not be decisive in itself (ECJ, NJW 1978, 2439, 2440 - United Brands v
        Commission). In this context, the definition of the relevant market is of major importance
        (ECJ, judgment of 26 November 1998 - C-7/97, ECR 1998, 1-7791 = WRP 1999, 167 marginal
        no. 32 - Oscar Bronner v Mediaprint; BGHZ 160, 67, 73- Standard bung barrel). The
        determination of a relevant supply market basically follows the demand market concept.
        According to this concept, the relevant product or service market comprises all products
        or services which, due to their characteristics, are particularly suitable for satisfying a
        constant demand and are only to a small extent interchangeable with other products or
        services (see ECJ, ECR 1998, 1-7791 marginal no. 33 - Oscar Bronner/Mediaprint; BGHZ
        160, 67, 73 f. - Standard bung barrel). If an industrial standard (as in this case) or another
        set of rules (de facto standard) which is apprehended by consumers like a standard
        prescribes a standardised design of a product which is protected by intellectual property
        rights and which cannot be substituted by another product from the point of view of the
        opposite side of the market, the granting of rights which enable potential suppliers of this
        product to bring it onto the market in the first place regularly constitutes a separate
        market upstream of the product market (BGHZ 160, 67, 74 - Standard bung barrel; see ECJ,
        judgment of 29 January 1998, pp. 33 - Oscar Bronner v. Mediaprint; BGHZ 160, 67, 73 et seq.
        April 2004 - C-418/01, ECR 2004, 1-5039= WRP 2004, 717 para. 44 - IMS Health).

        (4)

   58   The assumption of such an independent license market thus first of all requires the
        statement that the patent is essential to the standard, i.e. that the use of the patent-
        protected teaching is indispensable for the implementation of a standard (standardised
        by a standardisation organisation or enforced on the market) (BGHZ 160, 67, 74 - Standard
        Bung barrel), so that it is usually technically impossible to circumvent it without losing
        important functions for the product market (cf. ECJ, WRP 2015, 2783 marginal 49 -
        Huawei/ZTE; European Commission, decision of 29 April 2014 - C (2014) 2892 marginal 52
        - Motorola). Furthermore, a prerequisite for an independent license market is that the
        technical teaching corresponding to the patent and the standard is not substitutable by
        another technical design of the product (see ECJ, ECR 2004, 1-5039 marginal 28 - IMS
        Health; BGHZ 160, 67, 74 - Standard-Bung barrel).

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        (5)

   59   The patent in suit is an essential standard patent. As explained (marginal 36 ff.), a mobile
        station which complies with the GPRS standard necessarily makes use of the features of
        claim 12 of the patent in suit. The specifications are mandatory, as the court of appeal
        has found without objection by the parties. Thus, it is decisive that the use of the
        technical teaching according to the patent cannot be substituted by a different technical
        design of the mobile stations (see BGHZ 160, 67, 74 - Standard-Bung barrel). According to
        the findings of the Court of Appeal, which were not objected to, compliance with the GPRS
        standard is also mandatory for every mobile station. Switching to another technology, in
        particular to the previous version of GPRS (GSM) or to the successor standards (UMTS or
        LTE), is not possible because the previous version does not provide fast, competitive data
        transmission and sufficient network coverage for the successor standards is not always
        guaranteed. A mobile phone without GPRS is therefore not competitive, and a device
        conforming to the standard is therefore not substitutable with a non-standard mobile
        phone from the point of view of the counterparty.

   60   According to the unobjected findings of the Court of Appeal, this also applies in particular
        to the technology in question here. Mobile devices that do not allow a negotiation on the
        data rate in the sense of the claim patent require a multitude of carrier services. The
        available higher transmission speeds cannot be used in this way, so that mobile devices
        without the standard essential and patentable technology are too slow compared to
        mobile devices with this technology.

        bb)

   61   The Court of Appeal did not fail to recognise that, despite the access barrier provided by
        the standard - and the resulting monopoly position on the licensing market relevant here
        - there may be exceptional reasons which may exclude the market dominance of the
        holder of a patent essential to the standard (cf. England and Wales Court of Appeal,
        judgment of 23 October 2018, [2018] EWCA Civ 2344 marginal 225 f - Unwired Planet v
        Huawei; Meyer in: 80 Jahre Patentgerichtsbarkeit in Düsseldorf, pp. 377, 389). However,
        neither the parties' submissions nor the circumstances of the case have provided any
        evidence to support this. On the other hand, the appeal is unsuccessfully arguing that the
        Court of Appeal failed to recognise that a significant countervailing power of patent users
        limits market power.

        (1)

                                                                                               5/20
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   62   The decisive factor in determining whether a market-dominating position of the plaintiff
        can be affirmed is not its bargaining power vis-à-vis a particular party, but the economic
        power which the plaintiff’s patent confers on it vis-à-vis the entire market. Contrary to
        the view of the appeal, the market power in the granting of patent licenses is thus not to
        be determined relatively, namely with regard to the strength relationship between a
        concrete license seeker and the patentee.

        (a)

   63   It is true that the structure of the demand market for patent licensing is different from
        that for goods and services. While in the latter case the demanders depend on a contract
        with the supplier with market power in order to have access to the goods and services,
        the patent user is able to use the patent-related teaching disclosed in the patent and in
        the standard even without an agreement with the patent holder. However, contrary to
        the plaintiff’s view, it does not follow from this that market power of the owner of a
        standard essential patent can only exist if the risk of a legal claim against an infringer is
        so high that the infringer is typically willing to conclude a license agreement on
        conditions which are considerably less favourable than would be the case under market
        conditions. This is because the structurally superior power position of the patentee does
        not result from his negotiating power when negotiating license conditions, but rather
        from the legal possibility to demand that third parties do not bring or remain on the
        market any products conforming to the invention, to prevent this if necessary by an
        action for injunction, recall of the products and destruction and thus to reserve the
        manufacture of these products for himself (or a licensee) (cf. ECJ, WRP 2015, 1080
        marginal no. 52 - Huawei/ZTE). A barrier to market access already results from the fact
        that these legal obstacles make it unreasonable for any company to operate on the
        market without prior licensing (cf. ECJ, judgment of 29 April 2004 - C-418/01, ECR 2004, 1-
        5039 = WRP 2004, 717 para. 28 - IMS Health).

        (b)

   64   Although it is obvious that the restriction of the claims of the owner of a standard
        essential patent resulting from the patent infringement considerably weakens his
        negotiating position, since he has only limited access to the means of pressure necessary
        for equal license negotiations. This may have an effect in particular in cases where the
        infringer tries to delay the conclusion of negotiations until the patent has expired
        ("patent hold-out" or "reverse patent hold-up", cf. Opinion of Advocate General Wathelet
        of 20 November 2014 - C-170/13, juris para. 42). However, this cannot fundamentally call

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        into question the patent proprietor's dominating position on the market, but must (only)
        be taken into account in the assessment of the misuse of the judicial assertion of the
        patent when weighing up the interests of both sides - which is always necessary. For
        only the assessment of the behaviour of a patent holder as an abuse legitimises the
        restriction of his rights and leads to a restriction of the enforceability of a patent.

        (2)

   65   However, the market-dominating position of the holder of a standard essential patent
        exists only to the extent and for as long as he can prevent, on account of his legal
        position, products conforming to the patent from entering or remaining on the market
        (ECJ, WRP 2015, 1080 marginal no. 52Huawei/ZTE). This legal position regularly is
        dropped after the expiry of the term of protection of the respective patent, since claims
        against patent infringers directed into the future are excluded. Admittedly, the expiry of
        the term of protection only leads to the complete loss of the claims to destruction and
        recall under Sec. 140a (4) Patent Act in the case of disproportionality within the meaning
        of Sec. 140a (1), (3) Patent Act. Otherwise, the claims are limited to such products which
        the infringer had been in possession or ownership until then or which had been
        manufactured and delivered until then (Grabinski/Zulch, in: Benkard, Patentgesetz, 11th
        ed., Sec. 140a Patent Act marginal no. 9, 16; Kuhnen, GRUR 2009, 288, 291). This follows
        from the fact that the purpose of the claims mentioned is not limited to the elimination
        of the consequences of a (continuing) patent infringement, but that Sec. 140a Patent Act
        establishes independent claims which also have a general and special preventive
        deterrent effect and should have a sanctioning character (Draft Act on Combating
        Product Piracy, BT-Drucks. 11/4792, 27 et seq.; Kühnen, GRUR 2009, 288, 292). However,
        once the property right has lapsed, the patent proprietor can no longer generally prevent
        products that are in accordance with the invention from being put on the market. Thus,
        the structurally superior power position of the patentee no longer applies.

        cc)

   66   According to Art. 102 TFEU, the dominating position must - as the Court of Appeal has
        not disregarded - exist in the internal market as a whole or at least in a substantial part
        of it (ECJ, Judgment of 9 November 1983 - Case 322/81, ECR 1984, 3461 marginal 103 -
        Michelin v Netherlands; Judgment of 26 November 1998 - C-7/97, WRP 1999, 167 marginal
        36 - Oscar Bronner v Mediaprint).

        (b)

                                                                                                  7/20
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   67   However, the findings made by the Court of Appeal do not justify the assumption that the
        plaintiff abused his market-dominating position.

        aa)

   68   The action of a market-dominating patent holder who undertook vis-à-vis a
        standardization organization to grant licenses on FRAND terms may constitute an abuse
        of his dominating position if and to the extent that it is suitable to prevent products
        corresponding to the standard from entering or remaining available on the market (ECJ,
        WRP 2015, 1080 marginal 54 et seq. - Huawei/ZTE; BGHZ 180.312 marginal 22 et seq. -
        Orange Book Standard). According to claims for injunctive relief (BGHZ 180, 312 marginal
        22 - Orange Book Standard), recall and removal of products from the distribution
        channels (ECJ, WRP 2015, 1080 marginal 73 - Huawei/ZTE) or destruction (OLG Düsseldorf,
        GRUR 2017, 1219 marginal 220; OLG Karlsruhe, GRUR 2020, 166 marginal 87) may be
        abusive.

        (1)

   69   Even the owner of a standard essential patent, however, is not per se prohibited from
        enforcing his patent on the product market by asserting injunctive and other claims (ECJ,
        WRP 2015, 1080 marginal no. 46 - Huawei/ZTE). For the standard essentiality does not
        alter the fact that the patent proprietor only has to tolerate the use of his patent if he has
        either allowed the person who makes use of his technical teaching to do so or, in any
        event, must allow him to do so, in compliance with his obligation not to abuse his market
        power (see ECJ, WRP 2015, 1080 marginal 53, 58 - Huawei/ZTE).

        (2)

   70   In turn, the obligation to license presupposes that the person who intends to use or has
        already used the patent and has already brought patentable products onto the market
        although he does not have a license is also prepared to take a license on this patent on
        reasonable and non-discriminatory terms (ECJ, WRP 2015, 1080 marginal 54 Huawe1/ZTE;
        BGHZ 180,312 marginal 27 - Orange Book Standard). Even the patent holder with market
        power does not have to impose the taking of a license on anybody and has no legal means
        to do so, since although the potential licensee can demand that he conclude a license
        agreement, the patent holder, on the other hand, is not entitled to such a claim, but is
        rather advised to enforce claims for patent infringement against anyone who uses the



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        teaching in accordance with the invention but does not wish to conclude a license
        agreement for this.

        (3)

   71   It therefore constitutes an abuse of the dominating position if the patent proprietor
        asserts claims for injunction, destruction and recall of products although the infringer
        made an unconditional offer to conclude a license agreement on conditions which the
        patent proprietor may not refuse without infringing the prohibition of abuse or
        discrimination (BGHZ 180, 312 marginal no. 27, 29 - Orange Book Standard).

        (4)

   72   In addition, however, the assertion of such claims by way of an action may also be
        considered abusive if the infringer has not (yet) agreed to conclude a license agreement
        on certain reasonable terms, but the patent proprietor is to be blamed for not having
        made sufficient efforts to meet the special responsibility associated with the dominating
        position on the market and to enable an infringer who is in principle willing to license to
        conclude a license agreement on reasonable terms (cf. ECJ, WRP 2015, 1080 marginal no.
        54 ff. - Huawei/ZTE).

        (a)

   73   Therefore, the patent holder must first notify the infringer of the infringement of the
        patent in suit if the infringer is not aware that by implementing a technical solution
        required by the standard he is unlawfully making use of the teaching of the patent in suit
        (ECJ, WRP 2015, 1080 marginal 60-62 - Huawe1/ZTE).

   74   It is in principle the infringer's responsibility to ensure that no technical property rights
        of third parties are infringed before commencing the manufacture or distribution of a
        technical product (FCJ, judgment of 19 December 2000 - X ZR 150/98, GRUR 2001, 323, 327
        - Temperature monitor). However, in view of the large number of patents which may
        affect a product, especially in the field of information and telecommunications
        technology, it is regularly very difficult to obtain a complete and reliable overview of all
        relevant property rights, especially since this may require a more detailed examination
        of the subject matter and scope of protection of a large number of patents in individual
        cases (cf. ECJ, WRP 2015, 1080 marginal no. 62 - Huawei/ZTE). In contrast, the patent
        holder who wishes to bring a claim against the (alleged) infringer on the grounds of
        patent infringement has already examined the infringement allegation. In addition, the
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        manufacturer of a standard-compatible product may expect that he may use the
        teaching of a standard essential patent anyway - even if only on the basis of a license
        agreement on reasonable terms (ECJ, WRP 2015, 1080 marginal 53, 64 - Huawei/ZTE). The
        market-dominating patent holder may therefore not seek injunctive relief from the
        infringer who is unaware of the infringement without informing him of the infringement
        of the patent in suit and thus giving him the opportunity to assert his claim to conclude
        a license agreement on reasonable terms and thus avert the enforcement of the patent
        holder's right to injunctive relief (cf. ECJ, WRP 2015, 1080 marginal no. 71 - Huawei/ZTE).

        (b)

   75   Furthermore, the dominating patent holder may be prohibited from seeking an
        injunction from the infringer who has been informed of the infringement of the patent
        in suit if the infringer declared that he wishes to take a license on the patent in suit but
        is unable, or in any case is unable, to formulate on his own initiative the conditions which
        the patent holder must grant him in compliance with the prohibition of discrimination
        and obstruction applicable to him (cf. ECJ, WRP 2015, 1080 marginal no. 63 f. -
        Huawei/ZTE).

   76   Although it is in principle up to the company seeking a license to object to a license claim
        of the patent holder, this would violate the prohibition of discrimination or obstruction,
        the principles on the burden of proof and demonstration in proceedings also apply to the
        parties' out-of-court obligations. The burden of proof for unequal treatment and
        obstruction is also borne by the license seekers in proceedings, whereas the patent
        holder bears a primary burden of proof for an objective reason for unequal treatment (Art.
        2 of Regulation 1/2003). As in the case of a procedural secondary burden of proof, the
        patent holder may, however, be obliged to substantiate his license claim in detail in order
        to enable the person seeking a license to verify whether the license claim constitutes an
        abuse of the dominating position due to the amount of the license fee or other conditions
        of the license offered. Otherwise, the company seeking a license would be forced to either
        run the risk of being ordered to cease and desist from the patent infringement action of
        the patent owner or to accept a potentially abusively excessive royalty claim or other
        potentially abusive contractual terms in order to safely exclude the risk of a cease and
        desist order.

   77   The obligation of the dominating patentee to explain and justify the licensing conditions
        which he considers as fair, reasonable and non-discriminatory (FRAND) is not only, but
        particularly important if the patentee is not willing to grant a license only on the patent

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        which he intends to claim, if necessary by way of an action, but wants to allow the use of
        this patent only within the framework of a portfolio license or other license agreement
        comprising further property rights.

   78   In any case, such a linkage with other intellectual property rights is in principle
        unobjectionable under antitrust law insofar as it is not linked to claims which oblige the
        licensee to make payments for the use of non-essential patents and the remuneration is
        calculated in such a way that users who would like to develop a product for a specific,
        geographically limited area are not disadvantaged (cf. Communication of the European
        Commission on the handling of essential standard patents by the EU of 29 November
        2017, COM [2017] 712 final p. 9). This is because even the market-dominating patent holder
        does not have to accept that the infringer, in order to defend himself against an action
        for an injunction, only wants to take a license for the patent in suit, but not for the other
        patents which he also needs for the lawful manufacturing or distribution of a product
        which complies with the standard. Negotiations on worldwide portfolio licenses are
        therefore common practice and, from an efficiency point of view, also benefit the user of
        the licensed intellectual property rights (Communication of the European Commission
        of 29 November 2017, COM [2017] 712 final p. 9). At the same time, however, the inclusion
        of a possibly large number of additional patents increases the complexity of the issue,
        which is relevant for the examination whether the contractual terms required of the
        patent holder are in line with the obligations arising from his dominating position. The
        patent holder must therefore also provide sufficient information to the infringer seeking
        a license in this respect.

        (c)

   79   To what extent, to what degree of detail and at what time the information to be requested
        from the patentee is required is a question of the individual case and depends in
        particular also on the respective reaction of the infringer (cf. ECJ, WRP 2015, 1080
        marginal 65 ff. Huawei/ZTE).

   80   Since the special obligations of conduct imposed on the dominating patent holder are
        intended to enable the infringer to make lawful use of the patent by concluding a license
        agreement on FRAND terms and thus to avert the assertion of a claim for injunctive relief,
        the obligations of the patent holder do not, in any event, differ in favour of the infringer
        from those which also affect the patent holder in other respects by virtue of his
        dominating position vis-à-vis a company seeking a license. Otherwise, by using the
        patent without concluding a license agreement, the infringer could gain an advantage in

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        competition with those companies which use or intend to use the patent on the basis of
        a license agreement on reasonable and non-discriminatory terms.

   81   What constitutes reasonable and non-discriminatory terms and conditions of a license
        agreement in a particular case usually depends on a variety of circumstances. As in other
        cases of (possible) abuse of a dominating position, the dominating patentee is not in
        principle obliged to grant licenses in the manner of a "uniform rate" which grants equal
        conditions to all users (BGHZ 160, 67, 78 - Standard bung barrel). Nor does such an
        obligation arise from the FRAND Self-Commitment Statement. This serves to guarantee
        actual access to the standardisation rule (cf. European Commission, Horizontal
        Guideline, ABI. EU C 11, 1 marginal 285, 287). With regard to the prohibition of
        discrimination, this purpose is satisfied if the conditions set out in Art. 102 para. 2 letter
        c TFEU and Section 19 (2) no. 3 Restriction of Competition Act, are observed. The
        prohibition of second-degree discrimination, i.e. discrimination against the trading
        partners of a dominating company on the upstream or (in this case) downstream market
        (Opinion of Advocate General Wahl of 20 December 2017- C-525/16, juris marg. 74),
        protects against the distortion of competition between trading partners through
        discriminatory conditions (ECJ, judgment of 19 April 2018- C-525/16, WuW 2018, 321
        marginal no. 24 - MEO; BGHZ 160, 67, 79- Standard-Bung barrel; FCJ, judgment of 12 April
        2016 - KZR 30/14, NZKart 2016, 374 marginal no. 48 - Net Cologne). Furthermore, the
        commitment under antitrust law and the limitation of the scope of action of the
        dominating company in the vertical relationship aims at enabling negotiation results
        which are not influenced by the dominating company and which take into account the
        interests of both contracting parties in a balanced way. Since appropriate conditions for
        a contractual relationship, in particular an appropriate price, are regularly not objectively
        determined, but can only be determined as the result of (possibly similar) negotiated
        market processes, the serious and targeted participation of the company seeking a
        license in the negotiation of appropriate contractual conditions is of decisive importance
        (cf. ECJ, WRP 2015, 1080 marginal nos. 65-68 - Huawei/ZTE).

   82   This should be taken into account in particular when considering whether the infringer
        who is sued under a patent can claim that the patent holder did not allow him to obtain
        a license on FRAND terms. This is because, in contrast to contractual negotiations which
        a company wishing to obtain a license before commencing use, the infringer's interest
        may also be directed - solely or at least primarily - towards delaying the patent holder as
        far as possible until the expiry of the term of protection of the patent in suit, because he
        is then no longer threatened with a cease-and-desist order (cf. ECJ, WRP 2015, 1080

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        marginal no. 65 - Huawei/ZTE). Such conduct is even more attractive from an economic
        point of view if the licensing of a plurality of patents or a patent portfolio is under
        consideration, but the patent holder, after the expiry of the patent in suit, only receives
        damages for the use of that very patent.

   83   The obligation of the dominating patentee to inform       the infringer of the infringement
        and of the possibility of obtaining a license and to make a license offer to the licensee is
        not a self purpose but is intended to make it easier for the latter to negotiate reasonable
        conditions with the patentee for his use. For this reason, according to the first indication,
        it is not sufficient to justify further obligations on the part of the dominating patent
        holder if the infringer then merely shows himself willing to consider concluding a
        license agreement or to enter into negotiations as to whether and under what conditions
        the conclusion of a contract is possible for him (see Opinion of Advocate General
        Wathelet of 20 November 2014 - C-170/13 marginal no. 50). Rather, the infringer for his
        part must clearly and unequivocally declare his willingness to conclude a license
        agreement with the patent holder on reasonable and non-discriminatory terms and must
        also subsequently participate in the license agreement negotiations in a targeted
        manner. The High Court of England and Wales (J. Birss) aptly stated that "a willing
        /icensee must be one willing to take a FRAND /icence on whatever terms are in fact
        FRAND" (EWHC, judgment of 5 April 2017, [2017] EWHC 711 (Pat) para. 708 - Unwired Planet
        v Huawei).

        bb)

   84   The Court of Appeal then held without error of law that the applicant was not guilty of an
        abuse of its dominating position because it had not sufficiently informed the defendant
        of the infringement of the patent in suit and of its willingness to license it on FRAND
        terms.

        (1)

   85   Such notification shall draw the infringer's attention to the infringement and to the
        possibility and necessity of obtaining a license. It is sufficient in this respect that the
        patent is designated and the specific act in which the infringement is to take place is
        indicated. As the Court of Appeal rightly points out, the latter requires - the designation
        of the type of infringing act and the challenged embodiments. Detailed technical or legal
        explanations of the infringement allegation are not required; the infringer must only be
        enabled to form a picture of the justification of the patent infringement allegation - if

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        necessary with the help of experts or by obtaining legal advice. The presentation of the
        infringement allegation based on "Claim Charts", which is widely used in practice, is
        regularly sufficient, but not mandatory.

        (2)

   86   The Court of Appeal correctly considered that the applicant's infringement notices
        satisfied those requirements.

   87   According to the findings of the Court of Appeal, in a letter dated December 20, 2012, and
        two further letters from 2013 to the defendant's parent companies, the plaintiff identified
        the plaintiff's patent with its publication number, among other things, and stated that the
        Group companies were infringing the plaintiff's patent by manufacturing and selling
        mobile communications devices that implemented, among other things, the GSM
        standard. In doing so, the Court of Appeal assumed without legal error that the reference
        to the GSM standard also included the GPRS extension. There are no indications that the
        infringement allegation needed further specification with regard to the affected section
        of the standard. Moreover, the patentee who has named the infringed patent and the
        relevant standard may expect the infringer to notify within a short period of time if these
        details do not suffice to identify the infringement allegation. This also applies if - as here
        - a large number of patents and standards are mentioned.

   88   By the first infringement notice in the letter of 20 December 2012, the applicant also
        indicated that it offered licenses on FRAND terms.

        (3)

   89   Rightly and without objection by the defendant, the Court of Appeal also considered the
        reference to the defendant's parent companies to be sufficient.

        cc)

   90   It does not, however, stand up to audit review, that the Court of Appeal assumed that the
        plaintiff was abusing its dominating position by bringing an action to enforce the claims
        to destruction and recall infringing products (which remained after the injunction had
        been granted because the patent expired), because it did not offer the defendants a
        license agreement on FRAND terms, and because the terms offered to the defendants
        were discriminatory. Its findings do not support either the assumption that the plaintiff
        was obliged to make a concrete offer of a contract because the defendants showed

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        themselves willing to license, or the further assumption that the contractual terms
        offered to the defendants were discriminatory.

        (1)

   91   The Court of Appeal wrongly assumed that the defendants agreed to conclude a license
        agreement on FRAND terms.

   92   The Court of Appeal correctly saw that the defendant's declaration of 12 December 2013,
        i.e. more than one year after the first infringement notification, did not meet the
        requirements for an infringer willing to obtain a license in terms of time alone. An
        infringer who remains silent for several months on the infringement notification thus
        regularly indicates that he is not interested in obtaining a license. Contrary to the
        defendant's view, this is not contradicted by the fact that the plaintiff did not submit the
        FRAND declaration until 10 April 2013. In fact, already with the first infringement notice
        in the letter dated December 20, 2012, the plaintiff indicated that it offers licenses on
        FRAND terms.

   93   The Court of Appeal nevertheless found that the defendant was willing to license the
        patent, since a FRAND license agreement issued outside the reaction period assumed by
        the Court of Appeal but before the action was filed did not result in a substantive
        preclusion that the "out-of-court licensing procedure" would be continued and that the
        patent holder would again be obliged to make an offer to the infringer on FRAND terms.

   94   It is not clear whether this is to be acceded to successfully, as the appeal is directed
        against the assumption of the Court of Appeal that the declaration of 12 December 2013
        is a sufficient declaration of readiness to license. Nor do the other statements of the
        defendants and their parent companies, as established by the Court of Appeal, express
        the defendants' serious willingness to enter into a license agreement on FRAND terms.

        (a)

   95   Since no further findings in favor of the defendant are to be expected, the Senate can
        interpret the defendant's declarations itself. However, it is not binding on the court of last
        resort if it violates statutory or generally recognised rules of interpretation, laws of
        thought or principles of experience (see FCJ, judgment of 5 October 2006 - III ZR 166/05,
        MDR 2007, 135). Even taking into account this limited standard of review, the statements
        of the Court of Appeal are not free of errors of law. The e-mail letter of 17 December 2013
        from the IP director of the defendant's parent companies (Annex AR 39) does not satisfy
                                                                                                15/20
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        the requirements for a serious and unconditional willingness to grant a license on
        FRAND terms (marg. 83 above). It merely expresses the hope that one will enter into a
        formal negotiation ("We hope to have a formal negotiation with you”) and asks for
        information about a promised discount ("You mentioned that there will be a discount if
        we sign the license timely. Please let me know the information such as specific discount
        amount and the current license royalty arrangement ... '). From the plaintiff's objective
        point of view as a recipient, the defendants did not indicate - and certainly not clearly
        and unambiguously - that they were prepared to conclude a license agreement on
        FRAND terms.

        (b)

   96   The Court of Appeal examined the further letters from the IP Director of the defendant's
        parent companies only from the point of view of whether they gave rise to the
        assumption that the original willingness to license ceased to exist in the meantime.
        Since the letter of January 16, 2016 (Annex AR 51) contained the statement that, if German
        courts finally determined an infringement and the validity of the plaintiff's patent and
        another patent asserted in a parallel litigation between the parties, one would be willing
        to take a FRAND license and pay license fees, this statement also did not meet the
        requirements, as the Court of Appeal correctly stated. This applies irrespective of the
        question, which was not examined by the Court of Appeal, whether and, if so, to what
        extent the defendants were allowed to restrict a willingness to license factually and
        geographically. For according to their letter, the defendants not only wanted to reserve -
        permissibly (ECJ, WRP 2015, 1080 marginal 69 - Huawei/ZTE) - the possibility to have the
        question of the use of the patent in suit and its validity clarified by a court, even in the
        case of a FRAND license agreement, but also only made the declaration of the willingness
        to license themselves in a limited form. Such a conditional declaration of willingness to
        license is insufficient (BGHZ 180, 312 marginal no. 32 - Orange Book Standard).

        (c)

   97   To the extent that the Court of Appeal inferred from the letter dated March 23, 2016
        (Annex AR 51) transmitted during the appeal proceedings that the defendants had
        continued to be willing to license, it is again open to question whether and to what extent
        a willingness to license declared after the filing of the suit (and after a conviction in the
        first instance) may have an impact on the antitrust assessment of the patentee's
        conduct. The findings of the Court of Appeal do not indicate a willingness to license in
        the above mentioned sense. Nor does it result from the content of the letter. Although

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        there is a statement that one is willing to take a FRAND license, at the same time it is
        pointed out that one's own position remains unchanged ("To make a long story short, we
        wish to express that our position remains unchanged, namely that we are willing to
        conclude a FRAND license and we are of the opinion that our offer is FRAND"; Annex AR
        51 p. 3). From the plaintiff's objective recipient's perspective, this could only be
        understood to mean that the inadmissible condition expressed in the letter of 16 January
        2016 should remain.

   98   In view of the above, it is not necessary to make a final assessment as to whether the
        letter also expresses in a broader sense a lack of willingness to enter into an open-ended
        negotiation process and to accept FRAND conditions with whatever content. This is
        supported by the fact that it insists on its own counter-offer and states that it is not
        prepared to improve the offer as long as the applicant is not prepared to specify the way
        in which the other patents in its portfolio are infringed ("As long as you remain
        unwilling to specify the way in which your patents (except EP504 and EP885) could be
        infringed ... we are not able to further amend our offer”). From the plaintiff's objective
        point of view, this indicated at that time that the defendant used delaying tactics.
        Admittedly, when offering a portfolio license, the patentee must provide the infringer
        with sufficient information on the patents belonging to the portfolio. However, this
        obligation does not go beyond what a party must reasonably provide in case of a portfolio
        license in contract negotiations. As in the notice of infringement, it is sufficient to
        explain the nature of the respective infringing act and the challenged embodiments.
        Detailed technical or legal explanations of the use of the respective patent are not
        required; the infringer must only be enabled to form an impression of the infringement
        allegation - if necessary with the help of an expert or by obtaining legal advice. In the
        event of uncertainty as to the justification of the infringement allegation, honest
        negotiating partners can be expected to enter into a discussion. The plaintiff had already
        complied with its obligation in a letter dated December 20, 2012. The plaintiff attached a
        list of the 450 patents belonging to the patent portfolio. The fact that the defendants
        insisted after more than three years on the formal position that the plaintiff was obliged
        to submit claim charts for all patents is in any case an indication that the defendants
        were less interested in a successful conclusion of the negotiations than in further
        delaying them in view of the near end of the term of the patent in suit. This again applies
        irrespective of the question left open by the court of appeal whether and, if so, to what
        extent the defendants were allowed to reject the offered portfolio license, since the
        patent owner can at least expect an infringer who is in principle willing to license to at
        least rely on factual grounds for this.

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   99    It is true that the letter also required the applicant to explain how the license offered had
         been calculated. However, it may be assumed, in the defendant's favour, that the
         applicant has not yet fulfilled its obligation in that regard. This obligation existed only
         after the defendants had expressed their serious willingness to license.

         (d)

   100 Finally, it is unclear whether the Respondent's counter-offer submitted on January 20,
       2017, four weeks prior to the February 16, 2017 appeal hearing date, indicates a willingness
         to enter into a FRAND License Agreement. At the time this offer was made, the term of
         protection of the patent in suit already expired. As a result, due to the loss of the
         dominating market position, the plaintiff not only lacked a norm addressee status within
         the meaning of Art 102 TFEU and Section 19 Restriction of Competition Act, but it could
         also no longer allow the defendants to use the subject matter of the patent in suit, which
         became patent-free, in the future. It was not obliged to retroactively legitimise the acts of
         infringement.

         (2)

   101   In the absence of any further consideration, the findings of the Court of Appeal also do
         not support its assumption that the action constitutes an abuse of the plaintiff        's
         dominating position because the latter demanded discriminatory contractual conditions
         from the defendant. It is an error of law in assuming that this could not in itself constitute
         an objective justification for the unequal treatment.

   102   Whether there is an objective justification for different prices must be answered on the
         basis of a weighing of all interests involved, taking into account the objective of antitrust
         law which is aimed at freedom of competition (BGHZ 160, 67, 77, FCJ, judgment of 7
         August 2010 - KZR 5/10, WRP 2011, 257 marginal no. 23 - Entega 11). The fact that a
         company in a dominating position does not in principle prevent it from protecting its
         own commercial interests if these are attacked. It must be able to react to such an attack
         in a reasonable manner, as long as the conduct does not aim at strengthening the
         dominating position and its abuse (see ECJ, judgment of 16 September 2008- C-486/06,
         ECR 2008, 1-7139 para. 50 - Lelos/GlaxoSmithKline). If it was economically reasonable
         from the plaintiff's point of view to accept an offer that was in itself inadequate in view
         of the lack of realistic possibilities for judicial enforcement of her claims and in view of
         the threat of personal or other economic disadvantages, in order to receive any
         consideration at all for the use of her property rights and to escape such threats by state

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         authorities, this may, in the necessary weighing of all interests affected, constitute an
         objective reason for maintaining her usual terms and conditions vis-à-vis other
         enterprises, provided that these are objectively appropriate and in particular do not
         impair the competitiveness of the other enterprises.

         […]

         2.

   108   Furthermore, the defendants are obliged to pay damages to the plaintiff pursuant to Sec.
         139 (2) Patent Act and must provide the plaintiff with the necessary information to enable
         the plaintiff to quantify its claim for damages. The claims are limited in time because of
         the expiry of the term of protection. The plaintiff has taken this into account in the appeal
         proceedings by referring to the requests for infringement actions until September 25,
         2016.

         a)

   109   Without any error of law, the Court of Appeal found that the fault required for the claim
         for damages in the form of negligence also applied to the period prior to receipt of the
         first notice of infringement from the plaintiff. This is because the obligation of the owner
         of a standard essential patent does not change the fact that it is in principle the
         infringer's responsibility to ensure that the property rights of third parties are not
         infringed prior to commencing the manufacture or distribution of a technical product
         (BGH, GRUR 2001, 323, 327 - Temperaturwächter). In view of the large number of patents
         which may affect a product, particularly in the field of information and
         telecommunications technology, it is admittedly very difficult to obtain a complete and
         reliable overview of all relevant property rights (cf. ECJ, WRP 2015, 1080 marginal no. 62 -
         Huawei/ZTE). However, this information deficit is not due to the patent holder's conduct
         and therefore does not justify a deviation from the otherwise applicable standard of care.

         b)

   110   The assumption of the Court of Appeal that the amount of the damages to be paid by the
         defendants is limited to that which would result from the standard of a licence analogy
         would not be fully correct, even if the starting point of the Court of Appeal were correct,
         namely that the plaintiff had abused its dominant position with the action for an
         injunction.


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   111   The assertion of a claim for damages for patent infringement does not, as the Court of
         Appeal does not fail to recognise, in principle constitute an abuse of the patent holder's
         dominant position, even in the case of a standard essential patent (ECJ, WRP 2015, 1080
         marginal no. 74 - Huawei/ZTE). The infringer can therefore only counter the patent
         proprietor's claim for damages with a claim for damages of his own which is based on
         the non-fulfilment of his claim to the conclusion of a licence agreement on reasonable
         and non-discriminatory terms and by virtue of which he can demand to be put in the
         position he would have been in if the patent proprietor had fulfilled this claim without
         delay. Such a counterclaim can thus arise only where the infringer requires the patentee
         to conclude a licence agreement on FRAND terms (initially by indicating his willingness
         to licence) and the patentee does not react to this in accordance with the obligations
         imposed on him by his dominant position, either by unlawfully refusing to conclude such
         a licence agreement (cf. BGHZ 160, 67, 82 - Standard-Spundfass) or by not making an offer
         on FRAND terms despite the patent infringer's willingness to license.

         c)

   112   Therefore, a limitation of the plaintiff’s claim for damages in this case is completely
         excluded. At any rate, during the term of protection of the plaintiff's patent, the
         defendants have, as explained, not sufficiently expressed their willingness to conclude
         a contract on FRAND terms.

         […]




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                             EXHIBIT D
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                                    Regional Court Mannheim
                                              2 O 34/19
                                   Judgment of 18 August 2020


        […]
                                               Reasons

        […]

        C.


        The claim for injunctive relief resulting from the infringement is also enforceable.
        Enforceability is not precluded by the dilatory objection of the Union law prohibition of
        abuse of a dominant market position under Article 102 TFEU (see I.). The defendant's
        objection of abuse is unfounded (see II.). A FRAND objection derived from the interveners
        as the defendant's suppliers also does not apply (see III.).


        I.


        An action by a market dominant patentee who has undertaken to a standardisation
        organisation to grant licences on FRAND terms may constitute an abuse of his dominant
        position if and in so far as it is liable to prevent products conforming to the standard from
        entering or remaining on the market (CJEU, judgment of 16 July 2015, C-170/13, GRUR
        2015, 764, 766 et seq. - Huawei/ZTE; FCJ, judgment of 5 May 2020, KZR 36/17 marginal 68
        - FRAND-Einwand; FCJ, judgment of 6 May 2009, KZR 39/06 marginal 22 et seq., BGHZ
        180, 312 - Orange Book Standard). According to these provisions, applications to bring an
        action for an injunction, among other things, may be abusive (see also HRC Karlsruhe,
        judgment of 6 May 2009, KZR 39/06, para. 22 et seq. 30.10.2019, 6 U 183/16, GRUR 2020, 166
        marginal no. 87 - Datenpaketverarbeitung; HRC Düsseldorf, judgment of 30.03.2017, I-15 U
        66/15, GRUR 2017, 1219 margin note 220 - mobile communication system).
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                                  CERTIFICATE OF SERVICE

               I, Robert M. Vrana, hereby certify that on April 26, 2021, I caused to be

         electronically filed a true and correct copy of the foregoing sealed document with

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